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           EXHIBIT 1
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 1    Joseph R. Saveri (State Bar No. 130064)                  Matthew Butterick (State Bar No. 250953)
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 2    Christopher K.L. Young (State Bar No. 318371)            Los Angeles, CA 90027
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 9               mpoueymirou@saverilawﬁrm.com

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      Plaintiﬀs and the Proposed Class
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      [Additional counsel on signature page]
12

13
                                UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
15

16   Richard Kadrey, et al.,                                    Lead Case No. 3:23-cv-03417-VC
                                                                Case No. 4:23-cv-06663
17                 Individual and Representative Plaintiﬀs,
                                                                PLAINTIFF RICHARD KADREY’S
18                                                              AMENDED RESPONSES TO
     v.
                                                                DEFENDANT META PLATFORMS,
19                                                              INC.’S SECOND SET OF REQUESTS FOR
     Meta Platforms, Inc.,                                      ADMISSION
20
                                                  Defendant.
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      Lead Case No. 3:23-cv-03417-VC
       PLAINTIFF RICHARD KADREY’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1    PROPOUNDING PARTIES:                             Defendant Meta Platforms, Inc.

 2    RESPONDING PARTIES:                              Plaintiﬀ Richard Kadrey

 3    SET NUMBER:                                      Two (2)

 4

 5           Plaintiﬀ Richard Kadrey (“Plaintiﬀ”) hereby amends his responses to Defendant Meta

 6   Platforms, Inc.’s (“Defendant” or “Meta”) Second Set of Requests for Admissions (the “Requests”

 7   or “RFAs”).

 8                                        GENERAL OBJECTIONS

 9           1.      Plaintiﬀ generally objects to Defendant’s deﬁnitions and instructions to the extent they

10   purport to require Plaintiﬀ to respond in any way beyond what is required by the Federal and local rules.

11           2.      Plaintiﬀ objects to the Requests to the extent they seek information or materials that are

12   protected from disclosure by attorney-client privilege, the work product doctrine, expert disclosure

13   rules, or other applicable privileges and protections, including communications with Plaintiﬀ’s

14   attorneys regarding the Action.

15           Discovery in this matter is ongoing and Plaintiﬀ reserves the right to amend, modify, or

16   supplement these responses with subsequently discovered responsive information and to introduce and

17   rely upon any such subsequently discovered information in this litigation.

18            AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS

19   REQUEST FOR ADMISSION NO. 8:

20           Admit that YOU have never licensed any of YOUR ASSERTED WORKS for use as training

21   data for artificial intelligence.

22   AMENDED RESPONSE TO REQUEST NO. 8:

23           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

24   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

25   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

26   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

27   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will


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                             SECOND SET OF REQUESTS FOR ADMISSION
           Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 4 of 132



 1   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 9-11 and 13-14. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds, admit.

 4   REQUEST FOR ADMISSION NO. 9:

 5           Admit that YOU are unaware of any of YOUR ASSERTED WORKS ever having been

 6   licensed for use as training data for artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 9:

 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8, 10-11 and 13-14. Plaintiff further objects to this Request as

15   irrelevant to any disputed issue in the case. Subject to and without waiving the foregoing objections, see

16   response to RFA 8. Plaintiff responds, admit.

17   REQUEST FOR ADMISSION NO. 10:

18           Admit that YOU have never consented to use of any of YOUR ASSERTED WORKS as training

19   data for artificial intelligence.

20   AMENDED RESPONSE TO REQUEST NO. 10:

21           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

26   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

27   duplicative in whole or in part of RFAs 8-9, 11, and 13-14. Subject to and without waiving the foregoing


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       PLAINTIFF RICHARD KADREY’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1   objections, Plaintiff responds, admit.

 2   REQUEST FOR ADMISSION NO. 11:

 3          Admit that YOU are unaware of consent ever having been given (either by YOU or somebody so

 4   authorized on YOUR behalf) to use of any of YOUR ASSERTED WORKS as training data for artificial

 5   intelligence.

 6   AMENDED RESPONSE TO REQUEST NO. 11:

 7          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 8   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

 9   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

10   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

11   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

12   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

13   duplicative in whole or in part of RFAs 8-10 and 13-14. Subject to and without waiving the foregoing

14   objections, Plaintiff responds, admit.

15   REQUEST FOR ADMISSION NO. 12:

16          Admit that, other than YOUR contention that LLM developers such as Meta should have

17   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models (see,

18   e.g., [March 7, 2024 denial of RFA No. 1), YOU are unaware of any lost sales due to the infringement

19   alleged in the COMPLAINT.

20   AMENDED RESPONSE TO REQUEST NO. 12:

21          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   objects to the term “lost sales” as rendering this Request vague and ambiguous. Plaintiff further objects

26   to this Request because it is hypothetical and not tied to the facts of the case. See, e.g., Buchanan v. Chi.

27   Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be


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       PLAINTIFF RICHARD KADREY’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1   connected to the facts of the case, courts do not permit “hypothetical” questions within requests for

 2   admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997)

 3   (denying request “asking Plaintiff to admit to infringement in the context of the hypothetical use of its

 4   device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to

 5   this Request as duplicative in whole or in part of RFA 15. Further, this Request seeks premature expert

 6   opinion. Plaintiffs are still investigating their damages theory. Subject to and without waiving the

 7   foregoing objections, Plaintiff responds, as of today, admit.

 8   REQUEST FOR ADMISSION NO. 13:

 9          Admit that YOU have no documentary evidence that any PERSON has offered any

10   consideration to YOU for the use of YOUR ASSERTED WORKS to train large language models.

11   AMENDED RESPONSE TO REQUEST NO. 13:

12          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

13   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

14   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

15   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

16   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

17   the specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

18   duplicative in whole or in part of RFAs 8-11, and 14. Subject to and without waiving the foregoing

19   objections, Plaintiff responds, admit.

20   REQUEST FOR ADMISSION NO. 14:

21          Admit that YOU have no documentary evidence that any PERSON has actually compensated

22   YOU any consideration for use of YOUR ASSERTED WORKS to train large language models.

23   AMENDED RESPONSE TO REQUEST NO. 14:

24          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also


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       PLAINTIFF RICHARD KADREY’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                             SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 7 of 132



 1   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

 2   the specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

 3   duplicative in whole or in part of RFAs 8-11, and 13. Subject to and without waiving the foregoing

 4   objections, Plaintiff responds, admit.

 5   REQUEST FOR ADMISSION NO. 15:

 6          Admit that, other than YOUR contention that LLM developers such as Meta should have

 7   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

 8   are unaware of any documentary evidence that YOU have lost sales of any ASSERTED WORKS due to

 9   the infringement alleged in the COMPLAINT.

10   AMENDED RESPONSE TO REQUEST NO. 15:

11          Plaintiﬀ objects to the deﬁned terms “You” and “Your” as vague and overbroad and calling for

12   discovery that is irrelevant and/or disproportional to the needs of the case because, as deﬁned, it

13   includes any person asked, hired, retained, or contracted to assist Plaintiﬀ. As narrowed by the parties,

14   Plaintiﬀ will construe “You” and “Your” to include Plaintiﬀ individually, and his agents. Plaintiﬀ also

15   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

16   the speciﬁc claims and defenses raised in this dispute. Plaintiﬀ further objects to the term “lost sales” as

17   rendering this Request vague and ambiguous. Plaintiﬀ also objects to this Request because it is

18   hypothetical and is not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL

19   7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected to the facts of the

20   case, courts do not permit “hypothetical” questions within requests for admission.’”); Fulhorst v. Un.

21   Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiﬀ to

22   admit to infringement in the context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory

23   committee’s note to 1946 amendment. Plaintiﬀ further objects to this Request as duplicative in whole or

24   in part of RFA 12. Subject to and without waiving the foregoing objections, Plaintiﬀ responds, admit.

25   REQUEST FOR ADMISSION NO. 16:

26          Admit that book sales for YOUR ASSERTED WORKS (including through any physical

27   bookstore, on-line bookseller, or any other type of book wholesaler or retailer) have not decreased due


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       PLAINTIFF RICHARD KADREY’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1   to the alleged use of YOUR ASSERTED WORKS to train large language models.

 2   AMENDED RESPONSE TO REQUEST NO. 16:

 3           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 4   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 5   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 6   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

 7   further objects to the term “book sales” as rendering this request vague and ambiguous. Plaintiff also

 8   objects to this Request because it is hypothetical and is not tied to the facts of the case. See, e.g.,

 9   Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to

10   admit ‘must be connected to the facts of the case, courts do not permit “hypothetical” questions within

11   requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17,

12   1997) (denying request “asking Plaintiff to admit to infringement in the context of the hypothetical use

13   of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further

14   objects to this Request as it calls for expert testimony. Subject to and without waiving the foregoing

15   objections, Plaintiff responds that after a reasonable inquiry, the information known or that can be

16   readily obtained by him is insufficient to enable him to admit or deny.

17   REQUEST FOR ADMISSION NO. 31:

18           Admit that YOU have never offered to license or sell any of YOUR ASSERTED WORKS for

19   use in the training of an artificial intelligence large language model.

20   AMENDED RESPONSE TO REQUEST NO. 31:

21           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   further objects to this Request as duplicative in whole or in part of RFAs 8-11. Subject to and without

26   waiving the foregoing objections, Plaintiff responds, admit.

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       PLAINTIFF RICHARD KADREY’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                             SECOND SET OF REQUESTS FOR ADMISSION
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 1   REQUEST FOR ADMISSION NO. 33:

 2          Admit that for a fee, YOU are willing to allow a THIRD PARTY to use YOUR ASSERTED

 3   works for the purpose of training an artificial intelligence large language model.

 4   AMENDED RESPONSE TO REQUEST NO. 33:

 5          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 6   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 7   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 8   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

 9   further objects to the phrase “for a fee” as vague and ambiguous. Subject to and without waiving the

10   foregoing objections, Plaintiff responds, admit.

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      Lead Case No. 3:23-cv-03417-VC                      7
       PLAINTIFF RICHARD KADREY’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                             SECOND SET OF REQUESTS FOR ADMISSION
         Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 10 of 132



 1   Dated: August 28, 2024                By:         /s/ Joseph R. Saveri
                                                       Joseph R. Saveri
 2
                                           Joseph R. Saveri (State Bar No. 130064)
 3
                                           Cadio Zirpoli (State Bar No. 179108)
                                           Christopher K.L. Young (State Bar No. 318371)
 4
                                           Holden Benon (State Bar No. 325847)
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16                                         Alexander J. Sweatman (pro hac vice anticipated)
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25                                         Counsel for Individual and Representative Plaintiﬀs
                                           and the Proposed Class
26

27


      Lead Case No. 3:23-cv-03417-VC          8
       PLAINTIFF RICHARD KADREY’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                             SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 11 of 132



 1                                      CERTIFICATE OF SERVICE

 2           I, the undersigned, am employed by the Joseph Saveri Law Firm, LLP. My business address is

 3   601 California Street, Suite 1505, San Francisco, California 94108. I am over the age of eighteen and not

 4   a party to this action.

 5           On August 28, 2024, I caused the following documents to be served by email upon the parties

 6   listed on the attached Service List:

 7          PLAINTIFF RICHARD KADREY’S AMENDED RESPONSES TO DEFENDANT
             META PLATFORMS, INC.’S SECOND SET OF REQUESTS FOR ADMISSION
 8

 9       I declare under penalty of perjury that the foregoing is true and correct. Executed August 28, 2024,

10   at San Francisco, California.

11

12                                                    By:
                                                                   Rya Fishman
13

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      Lead Case No. 3:23-cv-03417-VC                    9
       PLAINTIFF RICHARD KADREY’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                             SECOND SET OF REQUESTS FOR ADMISSION
           Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 12 of 132



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       Lead Case No. 3:23-cv-03417-VC          10
         PLAINTIFF RICHARD KADREY’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                               SECOND SET OF REQUESTS FOR ADMISSION
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           EXHIBIT 2
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 14 of 132



 1    Joseph R. Saveri (State Bar No. 130064)                  Matthew Butterick (State Bar No. 250953)
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 2    Christopher K.L. Young (State Bar No. 318371)            Los Angeles, CA 90027
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 4    JOSEPH SAVERI LAW FIRM, LLP
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 5    San Francisco, California 94108                          Alexander J. Sweatman (pro hac vice anticipated)
      Telephone: (415) 500-6800                                CAFFERTY CLOBES MERIWETHER
 6    Facsimile: (415) 395-9940                                & SPRENGEL LLP
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13
                                UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
15

16   Richard Kadrey, et al.,                                    Lead Case No. 3:23-cv-03417-VC
                                                                Case No. 4:23-cv-06663
17                 Individual and Representative Plaintiﬀs,
                                                                PLAINTIFF SARAH SILVERMAN’S
18                                                              AMENDED RESPONSES TO
     v.
                                                                DEFENDANT META PLATFORMS,
19                                                              INC.’S SECOND SET OF REQUESTS FOR
     Meta Platforms, Inc.,                                      ADMISSION
20
                                                  Defendant.
21

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      Lead Case No. 3:23-cv-03417-VC
       PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                                     SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 15 of 132



 1    PROPOUNDING PARTIES:                             Defendant Meta Platforms, Inc.

 2    RESPONDING PARTIES:                              Plaintiﬀ Sarah Silverman

 3    SET NUMBER:                                      Two (2)

 4

 5           Plaintiﬀ Sarah Silverman (“Plaintiﬀ”) hereby amends her responses to Defendant Meta

 6   Platforms, Inc.’s (“Defendant” or “Meta”) Second Set of Requests for Admissions (the “Requests”

 7   or “RFAs”).

 8                                        GENERAL OBJECTIONS

 9           1.      Plaintiﬀ generally objects to Defendant’s deﬁnitions and instructions to the extent they

10   purport to require Plaintiﬀ to respond in any way beyond what is required by the Federal and local rules.

11           2.      Plaintiﬀ objects to the Requests to the extent they seek information or materials that are

12   protected from disclosure by attorney-client privilege, the work product doctrine, expert disclosure

13   rules, or other applicable privileges and protections, including communications with Plaintiﬀ’s

14   attorneys regarding the Action.

15           Discovery in this matter is ongoing and Plaintiﬀ reserves the right to amend, modify, or

16   supplement these responses with subsequently discovered responsive information and to introduce and

17   rely upon any such subsequently discovered information in this litigation.

18            AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS

19   REQUEST FOR ADMISSION NO. 8:

20           Admit that YOU have never licensed any of YOUR ASSERTED WORKS for use as training

21   data for artificial intelligence.

22   AMENDED RESPONSE TO REQUEST NO. 8:

23           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

24   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

25   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

26   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

27   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will


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       PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 9-11 and 13-14. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds, admit.

 4   REQUEST FOR ADMISSION NO. 9:

 5           Admit that YOU are unaware of any of YOUR ASSERTED WORKS ever having been

 6   licensed for use as training data for artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 9:

 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8, 10-11 and 13-14. Plaintiff further objects to this Request as

15   irrelevant to any disputed issue in the case. Subject to and without waiving the foregoing objections, see

16   response to RFA 8. Plaintiff responds, admit.

17   REQUEST FOR ADMISSION NO. 10:

18           Admit that YOU have never consented to use of any of YOUR ASSERTED WORKS as training

19   data for artificial intelligence.

20   AMENDED RESPONSE TO REQUEST NO. 10:

21           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

25   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

26   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

27   duplicative in whole or in part of RFAs 8-9, 11, and 13-14. Subject to and without waiving the foregoing


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       PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1   objections, Plaintiff responds, admit.

 2   REQUEST FOR ADMISSION NO. 11:

 3          Admit that YOU are unaware of consent ever having been given (either by YOU or somebody so

 4   authorized on YOUR behalf) to use of any of YOUR ASSERTED WORKS as training data for artificial

 5   intelligence.

 6   AMENDED RESPONSE TO REQUEST NO. 11:

 7          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 8   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

 9   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

10   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

11   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

12   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

13   duplicative in whole or in part of RFAs 8-10 and 13-14. Subject to and without waiving the foregoing

14   objections, Plaintiff responds, admit.

15   REQUEST FOR ADMISSION NO. 12:

16          Admit that, other than YOUR contention that LLM developers such as Meta should have

17   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models (see,

18   e.g., [March 7, 2024 denial of RFA No. 1), YOU are unaware of any lost sales due to the infringement

19   alleged in the COMPLAINT.

20   AMENDED RESPONSE TO REQUEST NO. 12:

21          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

25   objects to the term “lost sales” as rendering this Request vague and ambiguous. Plaintiff further objects

26   to this Request because it is hypothetical and not tied to the facts of the case. See, e.g., Buchanan v. Chi.

27   Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be


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 1   connected to the facts of the case, courts do not permit “hypothetical” questions within requests for

 2   admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997)

 3   (denying request “asking Plaintiff to admit to infringement in the context of the hypothetical use of its

 4   device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to

 5   this Request as duplicative in whole or in part of RFA 15. Further, this Request seeks premature expert

 6   opinion. Plaintiffs are still investigating their damages theory. Subject to and without waiving the

 7   foregoing objections, Plaintiff responds, as of today, admit.

 8   REQUEST FOR ADMISSION NO. 13:

 9          Admit that YOU have no documentary evidence that any PERSON has offered any

10   consideration to YOU for the use of YOUR ASSERTED WORKS to train large language models.

11   AMENDED RESPONSE TO REQUEST NO. 13:

12          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

13   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

14   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

15   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff also

16   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

17   the specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

18   duplicative in whole or in part of RFAs 8-11, and 14. Subject to and without waiving the foregoing

19   objections, Plaintiff responds, admit.

20   REQUEST FOR ADMISSION NO. 14:

21          Admit that YOU have no documentary evidence that any PERSON has actually compensated

22   YOU any consideration for use of YOUR ASSERTED WORKS to train large language models.

23   AMENDED RESPONSE TO REQUEST NO. 14:

24          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff also


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 1   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

 2   the specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

 3   duplicative in whole or in part of RFAs 8-11, and 13. Subject to and without waiving the foregoing

 4   objections, Plaintiff responds, admit.

 5   REQUEST FOR ADMISSION NO. 15:

 6          Admit that, other than YOUR contention that LLM developers such as Meta should have

 7   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

 8   are unaware of any documentary evidence that YOU have lost sales of any ASSERTED WORKS due to

 9   the infringement alleged in the COMPLAINT.

10   AMENDED RESPONSE TO REQUEST NO. 15:

11          Plaintiﬀ objects to the deﬁned terms “You” and “Your” as vague and overbroad and calling for

12   discovery that is irrelevant and/or disproportional to the needs of the case because, as deﬁned, it

13   includes any person asked, hired, retained, or contracted to assist Plaintiﬀ. As narrowed by the parties,

14   Plaintiﬀ will construe “You” and “Your” to include Plaintiﬀ individually, and her agents. Plaintiﬀ also

15   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

16   the speciﬁc claims and defenses raised in this dispute. Plaintiﬀ further objects to the term “lost sales” as

17   rendering this Request vague and ambiguous. Plaintiﬀ also objects to this Request because it is

18   hypothetical and is not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL

19   7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected to the facts of the

20   case, courts do not permit “hypothetical” questions within requests for admission.’”); Fulhorst v. Un.

21   Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiﬀ to

22   admit to infringement in the context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory

23   committee’s note to 1946 amendment. Plaintiﬀ further objects to this Request as duplicative in whole or

24   in part of RFA 12. Subject to and without waiving the foregoing objections, Plaintiﬀ responds, admit.

25   REQUEST FOR ADMISSION NO. 16:

26          Admit that book sales for YOUR ASSERTED WORKS (including through any physical

27   bookstore, on-line bookseller, or any other type of book wholesaler or retailer) have not decreased due


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       PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1   to the alleged use of YOUR ASSERTED WORKS to train large language models.

 2   AMENDED RESPONSE TO REQUEST NO. 16:

 3           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 4   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 5   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 6   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

 7   further objects to the term “book sales” as rendering this request vague and ambiguous. Plaintiff also

 8   objects to this Request because it is hypothetical and is not tied to the facts of the case. See, e.g.,

 9   Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to

10   admit ‘must be connected to the facts of the case, courts do not permit “hypothetical” questions within

11   requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17,

12   1997) (denying request “asking Plaintiff to admit to infringement in the context of the hypothetical use

13   of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further

14   objects to this Request as it calls for expert testimony. Subject to and without waiving the foregoing

15   objections, Plaintiff responds that after a reasonable inquiry, the information known or that can be

16   readily obtained by her is insufficient to enable her to admit or deny.

17   REQUEST FOR ADMISSION NO. 31:

18           Admit that YOU have never offered to license or sell any of YOUR ASSERTED WORKS for

19   use in the training of an artificial intelligence large language model.

20   AMENDED RESPONSE TO REQUEST NO. 31:

21           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   further objects to this Request as duplicative in whole or in part of RFAs 8-11. Subject to and without

26   waiving the foregoing objections, Plaintiff responds, admit.

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                              SECOND SET OF REQUESTS FOR ADMISSION
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 1   REQUEST FOR ADMISSION NO. 33:

 2          Admit that for a fee, YOU are willing to allow a THIRD PARTY to use YOUR ASSERTED

 3   works for the purpose of training an artificial intelligence large language model.

 4   AMENDED RESPONSE TO REQUEST NO. 33:

 5          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 6   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 7   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 8   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

 9   further objects to the phrase “for a fee” as vague and ambiguous. Subject to and without waiving the

10   foregoing objections, Plaintiff responds, admit.

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      PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                             SECOND SET OF REQUESTS FOR ADMISSION
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 1   Dated: August 28, 2024                By:         /s/ Joseph R. Saveri
                                                       Joseph R. Saveri
 2
                                           Joseph R. Saveri (State Bar No. 130064)
 3
                                           Cadio Zirpoli (State Bar No. 179108)
                                           Christopher K.L. Young (State Bar No. 318371)
 4
                                           Holden Benon (State Bar No. 325847)
                                           Aaron Cera (State Bar No. 351163)
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                                           Margaux Poueymirou (State Bar No. 356000)
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                                           Matthew Butterick (State Bar No. 250953)
12                                         1920 Hillhurst Avenue, 406
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                                           Bryan L. Clobes (pro hac vice)
16                                         Alexander J. Sweatman (pro hac vice anticipated)
                                           CAFFERTY CLOBES MERIWETHER
17                                         & SPRENGEL LLP
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                                           Telephone: (312) 782-4880
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                                                         asweatman@caﬀertyclobes.com
20

21                                         Daniel J. Muller (State Bar No. 193396)
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                                           San Jose, California 95125
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                                           Facsimile: (408) 512-3023
24                                         Email:     dmuller@venturahersey.com

25                                         Counsel for Individual and Representative Plaintiﬀs
                                           and the Proposed Class
26

27


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      PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                             SECOND SET OF REQUESTS FOR ADMISSION
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 1                                      CERTIFICATE OF SERVICE

 2           I, the undersigned, am employed by the Joseph Saveri Law Firm, LLP. My business address is

 3   601 California Street, Suite 1505, San Francisco, California 94108. I am over the age of eighteen and not

 4   a party to this action.

 5           On August 28, 2024, I caused the following documents to be served by email upon the parties

 6   listed on the attached Service List:

 7          PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT
             META PLATFORMS, INC.’S SECOND SET OF REQUESTS FOR ADMISSION
 8

 9       I declare under penalty of perjury that the foregoing is true and correct. Executed August 28, 2024,

10   at San Francisco, California.

11

12                                                    By:
                                                                   Rya Fishman
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       PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                              SECOND SET OF REQUESTS FOR ADMISSION
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 1                                      SERVICE LIST

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22
     Meta Platforms, Inc.
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       Lead Case No. 3:23-cv-03417-VC          10
        PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                               SECOND SET OF REQUESTS FOR ADMISSION
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           EXHIBIT 3
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 26 of 132



 1    Joseph R. Saveri (State Bar No. 130064)                  Matthew Butterick (State Bar No. 250953)
      Cadio Zirpoli (State Bar No. 179108)                     1920 Hillhurst Avenue, 406
 2    Christopher K.L. Young (State Bar No. 318371)            Los Angeles, CA 90027
      Holden Benon (State Bar No. 325847)                      Telephone: (323) 968-2632
 3    Aaron Cera (State Bar No. 351163)                        Facsimile: (415) 395-9940
      Margaux Poueymirou (State Bar No. 356000)                Email:     mb@buttericklaw.com
 4    JOSEPH SAVERI LAW FIRM, LLP
      601 California Street, Suite 1505                        Bryan L. Clobes (pro hac vice)
 5    San Francisco, California 94108                          Alexander J. Sweatman (pro hac vice anticipated)
      Telephone: (415) 500-6800                                CAFFERTY CLOBES MERIWETHER
 6    Facsimile: (415) 395-9940                                & SPRENGEL LLP
      Email:     jsaveri@saverilawﬁrm.com                      135 South LaSalle Street, Suite 3210
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                 cyoung@saverilawﬁrm.com                       Telephone: (312) 782-4880
 8               hbenon@saverilawﬁrm.com                       Email:        bclobes@caﬀertyclobes.com
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 9               mpoueymirou@saverilawﬁrm.com

10    Counsel for Individual and Representative
      Plaintiﬀs and the Proposed Class
11
      [Additional counsel on signature page]
12

13
                                UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
15

16   Richard Kadrey, et al.,                                    Lead Case No. 3:23-cv-03417-VC
                                                                Case No. 4:23-cv-06663
17                 Individual and Representative Plaintiﬀs,
                                                                PLAINTIFF CHRISTOPHER GOLDEN’S
18                                                              AMENDED RESPONSES TO
     v.
                                                                DEFENDANT META PLATFORMS,
19                                                              INC.’S SECOND SET OF REQUESTS FOR
     Meta Platforms, Inc.,                                      ADMISSION
20
                                                  Defendant.
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      Lead Case No. 3:23-cv-03417-VC
        PLAINTIFF CHRISTOPHER GOLDEN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS,
                                  INC.’S SECOND SET OF REQUESTS FOR ADMISSION
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 1    PROPOUNDING PARTIES:                             Defendant Meta Platforms, Inc.

 2    RESPONDING PARTIES:                              Plaintiﬀ Christopher Golden

 3    SET NUMBER:                                      Two (2)

 4

 5           Plaintiﬀ Christopher Golden (“Plaintiﬀ”) hereby amends his responses to Defendant Meta

 6   Platforms, Inc.’s (“Defendant” or “Meta”) Second Set of Requests for Admissions (the “Requests”

 7   or “RFAs”).

 8                                        GENERAL OBJECTIONS

 9           1.      Plaintiﬀ generally objects to Defendant’s deﬁnitions and instructions to the extent they

10   purport to require Plaintiﬀ to respond in any way beyond what is required by the Federal and local rules.

11           2.      Plaintiﬀ objects to the Requests to the extent they seek information or materials that are

12   protected from disclosure by attorney-client privilege, the work product doctrine, expert disclosure

13   rules, or other applicable privileges and protections, including communications with Plaintiﬀ’s

14   attorneys regarding the Action.

15           Discovery in this matter is ongoing and Plaintiﬀ reserves the right to amend, modify, or

16   supplement these responses with subsequently discovered responsive information and to introduce and

17   rely upon any such subsequently discovered information in this litigation.

18            AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS

19   REQUEST FOR ADMISSION NO. 8:

20           Admit that YOU have never licensed any of YOUR ASSERTED WORKS for use as training

21   data for artificial intelligence.

22   AMENDED RESPONSE TO REQUEST NO. 8:

23           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

24   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

25   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

26   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

27   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will


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        PLAINTIFF CHRISTOPHER GOLDEN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS,
                                  INC.’S SECOND SET OF REQUESTS FOR ADMISSION
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 1   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 9-11 and 13-14. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds, admit.

 4   REQUEST FOR ADMISSION NO. 9:

 5           Admit that YOU are unaware of any of YOUR ASSERTED WORKS ever having been

 6   licensed for use as training data for artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 9:

 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8, 10-11 and 13-14. Plaintiff further objects to this Request as

15   irrelevant to any disputed issue in the case. Subject to and without waiving the foregoing objections, see

16   response to RFA 8. Plaintiff responds, admit.

17   REQUEST FOR ADMISSION NO. 10:

18           Admit that YOU have never consented to use of any of YOUR ASSERTED WORKS as training

19   data for artificial intelligence.

20   AMENDED RESPONSE TO REQUEST NO. 10:

21           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

26   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

27


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        PLAINTIFF CHRISTOPHER GOLDEN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS,
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 1   duplicative in whole or in part of RFAs 8-9, 11, and 13-14. Subject to and without waiving the foregoing

 2   objections, Plaintiff responds, admit.

 3   REQUEST FOR ADMISSION NO. 11:

 4          Admit that YOU are unaware of consent ever having been given (either by YOU or somebody so

 5   authorized on YOUR behalf) to use of any of YOUR ASSERTED WORKS as training data for artificial

 6   intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 11:

 8          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8-10 and 13-14. Subject to and without waiving the foregoing

15   objections, Plaintiff responds, admit.

16   REQUEST FOR ADMISSION NO. 12:

17          Admit that, other than YOUR contention that LLM developers such as Meta should have

18   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models (see,

19   e.g., [March 7, 2024 denial of RFA No. 1), YOU are unaware of any lost sales due to the infringement

20   alleged in the COMPLAINT.

21   AMENDED RESPONSE TO REQUEST NO. 12:

22          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

23   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

24   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

25   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

26   objects to the term “lost sales” as rendering this Request vague and ambiguous. Plaintiff further objects

27   to this Request because it is hypothetical and not tied to the facts of the case. See, e.g., Buchanan v. Chi.


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        PLAINTIFF CHRISTOPHER GOLDEN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS,
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 1   Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be

 2   connected to the facts of the case, courts do not permit “hypothetical” questions within requests for

 3   admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997)

 4   (denying request “asking Plaintiff to admit to infringement in the context of the hypothetical use of its

 5   device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to

 6   this Request as duplicative in whole or in part of RFA 15. Further, this Request seeks premature expert

 7   opinion. Plaintiffs are still investigating their damages theory. Subject to and without waiving the

 8   foregoing objections, Plaintiff responds, as of today, admit.

 9   REQUEST FOR ADMISSION NO. 13:

10          Admit that YOU have no documentary evidence that any PERSON has offered any

11   consideration to YOU for the use of YOUR ASSERTED WORKS to train large language models.

12   AMENDED RESPONSE TO REQUEST NO. 13:

13          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

14   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

15   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

16   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

17   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

18   the specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

19   duplicative in whole or in part of RFAs 8-11, and 14. Subject to and without waiving the foregoing

20   objections, Plaintiff responds, admit.

21   REQUEST FOR ADMISSION NO. 14:

22          Admit that YOU have no documentary evidence that any PERSON has actually compensated

23   YOU any consideration for use of YOUR ASSERTED WORKS to train large language models.

24   AMENDED RESPONSE TO REQUEST NO. 14:

25          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

26   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

27   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,


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 1   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

 2   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

 3   the specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

 4   duplicative in whole or in part of RFAs 8-11, and 13. Subject to and without waiving the foregoing

 5   objections, Plaintiff responds, admit.

 6   REQUEST FOR ADMISSION NO. 15:

 7          Admit that, other than YOUR contention that LLM developers such as Meta should have

 8   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

 9   are unaware of any documentary evidence that YOU have lost sales of any ASSERTED WORKS due to

10   the infringement alleged in the COMPLAINT.

11   AMENDED RESPONSE TO REQUEST NO. 15:

12          Plaintiﬀ objects to the deﬁned terms “You” and “Your” as vague and overbroad and calling for

13   discovery that is irrelevant and/or disproportional to the needs of the case because, as deﬁned, it

14   includes any person asked, hired, retained, or contracted to assist Plaintiﬀ. As narrowed by the parties,

15   Plaintiﬀ will construe “You” and “Your” to include Plaintiﬀ individually, and his agents. Plaintiﬀ also

16   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

17   the speciﬁc claims and defenses raised in this dispute. Plaintiﬀ further objects to the term “lost sales” as

18   rendering this Request vague and ambiguous. Plaintiﬀ also objects to this Request because it is

19   hypothetical and is not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL

20   7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected to the facts of the

21   case, courts do not permit “hypothetical” questions within requests for admission.’”); Fulhorst v. Un.

22   Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiﬀ to

23   admit to infringement in the context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory

24   committee’s note to 1946 amendment. Plaintiﬀ further objects to this Request as duplicative in whole or

25   in part of RFA 12. Subject to and without waiving the foregoing objections, Plaintiﬀ responds, admit.

26   REQUEST FOR ADMISSION NO. 16:

27          Admit that book sales for YOUR ASSERTED WORKS (including through any physical


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 1   bookstore, on-line bookseller, or any other type of book wholesaler or retailer) have not decreased due

 2   to the alleged use of YOUR ASSERTED WORKS to train large language models.

 3   AMENDED RESPONSE TO REQUEST NO. 16:

 4           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 5   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 6   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 7   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

 8   further objects to the term “book sales” as rendering this request vague and ambiguous. Plaintiff also

 9   objects to this Request because it is hypothetical and is not tied to the facts of the case. See, e.g.,

10   Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to

11   admit ‘must be connected to the facts of the case, courts do not permit “hypothetical” questions within

12   requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17,

13   1997) (denying request “asking Plaintiff to admit to infringement in the context of the hypothetical use

14   of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further

15   objects to this Request as it calls for expert testimony. Subject to and without waiving the foregoing

16   objections, Plaintiff responds that after a reasonable inquiry, the information known or that can be

17   readily obtained by him is insufficient to enable him to admit or deny.

18   REQUEST FOR ADMISSION NO. 31:

19           Admit that YOU have never offered to license or sell any of YOUR ASSERTED WORKS for

20   use in the training of an artificial intelligence large language model.

21   AMENDED RESPONSE TO REQUEST NO. 31:

22           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

23   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

24   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

25   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

26   further objects to this Request as duplicative in whole or in part of RFAs 8-11. Subject to and without

27   waiving the foregoing objections, Plaintiff responds, admit.


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        PLAINTIFF CHRISTOPHER GOLDEN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS,
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 1   REQUEST FOR ADMISSION NO. 33:

 2          Admit that for a fee, YOU are willing to allow a THIRD PARTY to use YOUR ASSERTED

 3   works for the purpose of training an artificial intelligence large language model.

 4   AMENDED RESPONSE TO REQUEST NO. 33:

 5          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 6   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 7   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 8   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

 9   further objects to the phrase “for a fee” as vague and ambiguous. Subject to and without waiving the

10   foregoing objections, Plaintiff responds, admit.

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        PLAINTIFF CHRISTOPHER GOLDEN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS,
                                  INC.’S SECOND SET OF REQUESTS FOR ADMISSION
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 1   Dated: August 28, 2024               By:         /s/ Joseph R. Saveri
                                                      Joseph R. Saveri
 2
                                          Joseph R. Saveri (State Bar No. 130064)
 3
                                          Cadio Zirpoli (State Bar No. 179108)
                                          Christopher K.L. Young (State Bar No. 318371)
 4
                                          Holden Benon (State Bar No. 325847)
                                          Aaron Cera (State Bar No. 351163)
 5
                                          Margaux Poueymirou (State Bar No. 356000)
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13                                        Los Angeles, CA 90027
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                                          Daniel J. Muller (State Bar No. 193396)
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25
                                          Counsel for Individual and Representative Plaintiﬀs
26                                        and the Proposed Class
27


      Lead Case No. 3:23-cv-03417-VC                    8
        PLAINTIFF CHRISTOPHER GOLDEN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS,
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 1                                      CERTIFICATE OF SERVICE

 2           I, the undersigned, am employed by the Joseph Saveri Law Firm, LLP. My business address is

 3   601 California Street, Suite 1505, San Francisco, California 94108. I am over the age of eighteen and not

 4   a party to this action.

 5           On August 28, 2024, I caused the following documents to be served by email upon the parties

 6   listed on the attached Service List:

 7          PLAINTIFF CHRISTOPHER GOLDEN’S AMENDED RESPONSES TO
             DEFENDANT META PLATFORMS, INC.’S SECOND SET OF REQUESTS FOR
 8           ADMISSION
 9
         I declare under penalty of perjury that the foregoing is true and correct. Executed August 28, 2024,
10
     at San Francisco, California.
11

12
                                                      By:
13                                                                 Rya Fishman
14

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        PLAINTIFF CHRISTOPHER GOLDEN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS,
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           Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 36 of 132



 1                                      SERVICE LIST

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     Colette Ani Ghazarian                    James A. Ulwick
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            cghazarian@cooley.com                    julwick@dicellolevitt.com
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     Counsel for Defendant
22
     Meta Platforms, Inc.
23

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         PLAINTIFF CHRISTOPHER GOLDEN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS,
                                   INC.’S SECOND SET OF REQUESTS FOR ADMISSION
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           EXHIBIT 4
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 38 of 132



 1    Joseph R. Saveri (State Bar No. 130064)                Matthew Butterick (State Bar No. 250953)
      Cadio Zirpoli (State Bar No. 179108)                   1920 Hillhurst Avenue, 406
 2    Christopher K.L. Young (State Bar No. 318371)          Los Angeles, CA 90027
      Holden Benon (State Bar No. 325847)                    Telephone: (323) 968-2632
 3    Aaron Cera (State Bar No. 351163)                      Facsimile: (415) 395-9940
      Margaux Poueymirou (State Bar No. 356000)              Email:     mb@buttericklaw.com
 4    JOSEPH SAVERI LAW FIRM, LLP
      601 California Street, Suite 1505                      Bryan L. Clobes (pro hac vice)
 5    San Francisco, California 94108                        Alexander J. Sweatman (pro hac vice)
      Telephone: (415) 500-6800                              Mohammed A. Rathur (pro hac vice anticipated)
 6    Facsimile: (415) 395-9940                              CAFFERTY CLOBES MERIWETHER
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10    Counsel for Individual and Representative
      Plaintiffs and the Proposed Class
11
      [Additional counsel on signature page]
12

13
                                 UNITED STATES DISTRI CT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15                                  SAN FRANCISCO DIVISI ON

16
     Richard Kadrey, et al.,                                  Lead Case No. 3:23-cv-03417-VC
17                                                            Case No. 4:23-cv-06663
                 Individual and Representative Plaintiffs,
18                                                            PLAINTIFF TA-NEHISI COATES’S
     v.                                                       AMENDED RESPONSES TO DEFENDANT
19                                                            META PLATFORMS, INC.’S SECOND SET
     Meta Platforms, Inc.,                                    OF REQUESTS FOR ADMISSION
20

21                                             Defendant.

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31    Lead Case No. 3:23-cv-03417-VC
        PLAINTIFF TA-NEHISI COATES’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1    PROPOUNDING PARTIES:                              Defendant Meta Platforms, Inc.
 2    RESPONDING PARTIES:                               Plaintiff Ta-Nehisi Coates
 3    SET NUMBER:                                       Two (2)
 4

 5            Plaintiff Ta-Nehisi Coates (“Plaintiff”) hereby amends his responses to Defendant Meta

 6   Platforms, Inc.’s (“Defendant” or “Meta”) Second Set of Requests for Admissions (the “Requests” or

 7   “RFAs”).

 8                                         GENERAL OBJECTIONS
 9            1.      Plaintiff generally objects to Defendant’s definitions and instructions to the extent they

10   purport to require Plaintiff to respond in any way beyond what is required by the Federal and local

11   rules.

12            2.      Plaintiff objects to the Requests to the extent they seek information or materials that are

13   protected from disclosure by attorney-client privilege, the work product doctrine, expert disclosure

14   rules, or other applicable privileges and protections, including communications with Plaintiff’s

15   attorneys regarding the Action.

16            3.      Discovery in this matter is ongoing and Plaintiff reserves the right to amend, modify, or

17   supplement these responses with subsequently discovered responsive information and to introduce and

18   rely upon any such subsequently discovered information in this litigation.

19                 AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS
20   REQUEST FOR ADMISSION NO. 8:
21            Admit that YOU have never licensed any of YOUR ASSERTED WORKS for use as training

22   data for artificial intelligence.

23   AMENDED RESPONSE TO REQUEST NO. 8:
24            Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

     objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

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        PLAINTIFF TA-NEHISI COATES’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 40 of 132



 1   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 9-11 and 13-14. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 9:
 5           Admit that YOU are unaware of any of YOUR ASSERTED WORKS ever having been

 6   licensed for use as training data for artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 9:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8, 10-11 and 13-14. Plaintiff further objects to this Request as

15   irrelevant to any disputed issue in the case. Subject to and without waiving the foregoing objections,

16   see response to RFA 8. Plaintiff responds as follows: admit.

17   REQUEST FOR ADMISSION NO. 10:
18           Admit that YOU have never consented to use of any of YOUR ASSERTED WORKS as

19   training data for artificial intelligence.
20   AMENDED RESPONSE TO REQUEST NO. 10:
21           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

26   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as
27



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        PLAINTIFF TA-NEHISI COATES’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 41 of 132



 1   duplicative in whole or in part of RFAs 8-9, 11, and 13-14. Subject to and without waiving the

 2   foregoing objections, Plaintiff responds as follows: admit.

 3   REQUEST FOR ADMISSION NO. 11:
 4           Admit that YOU are unaware of consent ever having been given (either by YOU or somebody

 5   so authorized on YOUR behalf) to use of any of YOUR ASSERTED WORKS as training data for

 6   artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 11:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8-10 and 13-14. Subject to and without waiving the foregoing

15   objections, Plaintiff responds as follows: admit.

16   REQUEST FOR ADMISSION NO. 12:
17           Admit that, other than YOUR contention that LLM developers such as Meta should have

18   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models (see,

19   e.g., [March 7, 2024 denial of RFA No. 1), YOU are unaware of any lost sales due to the infringement
20   alleged in the COMPLAINT.

21   AMENDED RESPONSE TO REQUEST NO. 12:
22           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

23   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

24   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

25   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

26   objects to the term “lost sales” as vague and ambiguous. Plaintiff further objects to this Request
27   because it is hypothetical and not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth.,

     2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected to the

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        PLAINTIFF TA-NEHISI COATES’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

 2   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

 3   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

 4   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as

 5   duplicative in whole or in part of RFA 15. Further, this Request seeks premature expert opinion.

 6   Plaintiffs are still investigating their damages theory. Subject to and without waiving the foregoing

 7   objections, Plaintiff responds as follows: admit.

 8   REQUEST FOR ADMISSION NO. 13:
 9          Admit that YOU have no documentary evidence that any PERSON has offered any

10   consideration to YOU for the use of YOUR ASSERTED WORKS to train large language models.

11   AMENDED RESPONSE TO REQUEST NO. 13:
12          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

13   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

14   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

15   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

16   objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

17   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

18   duplicative in whole or in part of RFAs 8-11, and 14. Subject to and without waiving the foregoing

19   objections, Plaintiff responds as follows: admit.
20   REQUEST FOR ADMISSION NO. 14:
21          Admit that YOU have no documentary evidence that any PERSON has actually compensated

22   YOU any consideration for use of YOUR ASSERTED WORKS to train large language models.

23   AMENDED RESPONSE TO REQUEST NO. 14:
24          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

     objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

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 1   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 8-11, and 13. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 15:
 5          Admit that, other than YOUR contention that LLM developers such as Meta should have

 6   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

 7   are unaware of any documentary evidence that YOU have lost sales of any ASSERTED WORKS due

 8   to the infringement alleged in the COMPLAINT.

 9   AMENDED RESPONSE TO REQUEST NO. 15:
10          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

11   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

12   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

13   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

14   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

15   the specific claims and defenses raised in this case. Plaintiff further objects to the term “lost sales” as

16   vague and ambiguous. Plaintiff also objects to this Request because it is hypothetical and not tied to the

17   facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7,

18   2016) (“Since requests to admit ‘must be connected to the facts of the case, courts do not permit

19   “hypothetical” questions within requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL
20   873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiff to admit to infringement in the

21   context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946

22   amendment. Plaintiff further objects to this Request as duplicative in whole or in part of RFA 12.

23   Subject to and without waiving the foregoing objections, Plaintiff responds as follows: admit.

24   REQUEST FOR ADMISSION NO. 16:
25          Admit that book sales for YOUR ASSERTED WORKS (including through any physical

26   bookstore, on-line bookseller, or any other type of book wholesaler or retailer) have not decreased due
27   to the alleged use of YOUR ASSERTED WORKS to train large language models.



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 1

 2   AMENDED RESPONSE TO REQUEST NO. 16:
 3          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 4   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 5   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 6   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

 7   further objects to the term “book sales” as vague and ambiguous. Plaintiff also objects to this Request

 8   because it is hypothetical and is not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit

 9   Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected

10   to the facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

11   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

12   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

13   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as it

14   prematurely seeks expert testimony. Subject to and without waiving the foregoing objections, Plaintiff

15   responds that after a reasonable inquiry, the information known or that can be readily obtained by him

16   is insufficient to enable him to admit or deny.

17   REQUEST FOR ADMISSION NO. 31:
18          Admit that YOU have never offered to license or sell any of YOUR ASSERTED WORKS for

19   use in the training of an artificial intelligence large language model.
20   AMENDED RESPONSE TO REQUEST NO. 31:
21          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   further objects to this Request as duplicative in whole or in part of RFAs 8-11. Subject to and without

26   waiving the foregoing objections, Plaintiff responds as follows: admit.
27



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 1   REQUEST FOR ADMISSION NO. 33:
 2          Admit that for a fee, YOU are willing to allow a THIRD PARTY to use YOUR ASSERTED

 3   works for the purpose of training an artificial intelligence large language model.

 4   AMENDED RESPONSE TO REQUEST NO. 33:
 5          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 6   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it
 7
     includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
 8
     Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff
 9
     further objects that this Request poses an incomplete hypothetical, preventing Plaintiff from providing a
10
     single definitive answer. Subject to and without waiving the foregoing objections, Plaintiff admits only
11

12   that he may be willing to consider permitting a third party to use his asserted works for the purpose of

13   training an artificial intelligence large language model, under certain circumstances not present in this
14   case. Plaintiff otherwise denies Request No. 33.
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        PLAINTIFF TA-NEHISI COATES’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   Dated: September 6, 2024                By:         /s/ Bryan L. Clobes
                                                           Bryan L. Clobes
 2
                                             Joseph R. Saveri (State Bar No. 130064)
 3                                           Cadio Zirpoli (State Bar No. 179108)
                                             Christopher K.L. Young (State Bar No. 318371)
 4                                           Holden Benon (State Bar No. 325847)
                                             Aaron Cera (State Bar No. 351163)
 5                                           Margaux Poueymirou (State Bar No. 356000)
 6                                           JOSEPH SAVERI LAW FIRM, LLP
                                             601 California Street, Suite 1505
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                                             Matthew Butterick (State Bar No. 250953)
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                                             Facsimile: (415) 395-9940
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15
                                             Bryan L. Clobes (pro hac vice)
16                                           Alexander J. Sweatman (pro hac vice)
                                             Mohammed A. Rathur (pro hac vice anticipated)
17                                           CAFFERTY CLOBES MERIWETHER
                                             & SPRENGEL LLP
18                                           135 South LaSalle Street, Suite 3210
                                             Chicago, IL 60603
19                                           Telephone:    (312) 782-4880
                                             Email:        bclobes@caffertyclobes.com
20                                                         asweatman@caffertyclobes.com
                                                           mrathur@caffertyclobes.com
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22                                           Daniel J. Muller (State Bar No. 193396)
                                             VENTURA HERSEY & MULLER, LLP
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                                             San Jose, California 95125
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25                                           Email:      dmuller@venturahersey.com

26                                           Counsel for Individual and Representative Plaintiffs
                                             and the Proposed Class
27



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 1                                      CERTIFICATE OF SERVICE
 2          I, the undersigned, am employed by Cafferty Clobes Meriwether & Sprengel, LLP. My business

 3   address is 135 South LaSalle Street, Suite 3210, Chicago, Illinois 60603. I am over the age of eighteen

 4   and not a party to this action.

 5          On September 6, 2024, I caused the following documents to be served by email upon the parties

 6   listed on the attached Service List:

 7         PLAINTIFF TA-NEHISI COATES’S AMENDED RESPONSES TO DEFENDANT
            META PLATFORMS, INC.’S SECOND SET OF REQUESTS FOR ADMISSION
 8

 9      I declare under penalty of perjury that the foregoing is true and correct. Executed September 6,

10   2024, at Chicago, Illinois.

11
                                                            /s/ Bryan L. Clobes
12                                                    By:
                                                                   Bryan L. Clobes
13

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        PLAINTIFF TA-NEHISI COATES’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1                                       SERVICE LIST
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     Colette Ani Ghazarian                      James A. Ulwick
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            cghazarian@cooley.com                     julwick@dicellolevitt.com
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21   Counsel for Defendant
     Meta Platforms, Inc.
22

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         PLAINTIFF TA-NEHISI COATES’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                    SECOND SET OF REQUESTS FOR ADMISSION
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           EXHIBIT 5
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 50 of 132



 1    Joseph R. Saveri (State Bar No. 130064)                Matthew Butterick (State Bar No. 250953)
      Cadio Zirpoli (State Bar No. 179108)                   1920 Hillhurst Avenue, 406
 2    Christopher K.L. Young (State Bar No. 318371)          Los Angeles, CA 90027
      Holden Benon (State Bar No. 325847)                    Telephone: (323) 968-2632
 3    Aaron Cera (State Bar No. 351163)                      Facsimile: (415) 395-9940
      Margaux Poueymirou (State Bar No. 356000)              Email:     mb@buttericklaw.com
 4    JOSEPH SAVERI LAW FIRM, LLP
      601 California Street, Suite 1505                      Bryan L. Clobes (pro hac vice)
 5    San Francisco, California 94108                        Alexander J. Sweatman (pro hac vice)
      Telephone: (415) 500-6800                              Mohammed A. Rathur (pro hac vice anticipated)
 6    Facsimile: (415) 395-9940                              CAFFERTY CLOBES MERIWETHER
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                 cyoung@saverilawfirm.com                    Chicago, IL 60603
 8               hbenon@saverilawfirm.com                    Telephone:    (312) 782-4880
                 acera@saverilawfirm.com                     Email:        bclobes@caffertyclobes.com
 9                mpoueymirou@saverilawfirm.com                            asweatman@caffertyclobes.com
                                                                           mrathur@caffertyclobes.com
10    Counsel for Individual and Representative
      Plaintiffs and the Proposed Class
11
      [Additional counsel on signature page]
12

13
                                 UNITED STATES DISTRI CT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15                                  SAN FRANCISCO DIVISI ON

16
     Richard Kadrey, et al.,                                  Lead Case No. 3:23-cv-03417-VC
17                                                            Case No. 4:23-cv-06663
                 Individual and Representative Plaintiffs,
18                                                            PLAINTIFF JUNOT DIAZ’S AMENDED
     v.                                                       RESPONSES TO DEFENDANT META
19                                                            PLATFORMS, INC.’S SECOND SET OF
     Meta Platforms, Inc.,                                    REQUESTS FOR ADMISSION
20

21                                             Defendant.

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     PLAINTIFF JUNOT DIAZ’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S SECOND SET
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 1    PROPOUNDING PARTIES:                              Defendant Meta Platforms, Inc.
 2    RESPONDING PARTIES:                               Plaintiff Junot Diaz
 3    SET NUMBER:                                       Two (2)
 4

 5            Plaintiff Junot Diaz (“Plaintiff”) hereby amends his responses to Defendant Meta Platforms,

 6   Inc.’s (“Defendant” or “Meta”) Second Set of Requests for Admissions (the “Requests” or “RFAs”).

 7                                         GENERAL OBJECTIONS
 8            1.      Plaintiff generally objects to Defendant’s definitions and instructions to the extent they

 9   purport to require Plaintiff to respond in any way beyond what is required by the Federal and local

10   rules.

11            2.      Plaintiff objects to the Requests to the extent they seek information or materials that are

12   protected from disclosure by attorney-client privilege, the work product doctrine, expert disclosure

13   rules, or other applicable privileges and protections, including communications with Plaintiff’s

14   attorneys regarding the Action.

15            3.      Discovery in this matter is ongoing and Plaintiff reserves the right to amend, modify, or

16   supplement these responses with subsequently discovered responsive information and to introduce and

17   rely upon any such subsequently discovered information in this litigation.

18                 AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS
19   REQUEST FOR ADMISSION NO. 8:
20            Admit that YOU have never licensed any of YOUR ASSERTED WORKS for use as training

21   data for artificial intelligence.

22   AMENDED RESPONSE TO REQUEST NO. 8:
23            Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

24   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

25   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

26   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff
27   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

     construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

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 1   duplicative in whole or in part of RFAs 9-11 and 13-14. Subject to and without waiving the foregoing

 2   objections, Plaintiff responds as follows: admit.

 3   REQUEST FOR ADMISSION NO. 9:
 4           Admit that YOU are unaware of any of YOUR ASSERTED WORKS ever having been

 5   licensed for use as training data for artificial intelligence.

 6   AMENDED RESPONSE TO REQUEST NO. 9:
 7           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 8   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

 9   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

10   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

11   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

12   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

13   duplicative in whole or in part of RFAs 8, 10-11 and 13-14. Plaintiff further objects to this Request as

14   irrelevant to any disputed issue in the case. Subject to and without waiving the foregoing objections,

15   see response to RFA 8. Plaintiff responds as follows: admit.

16   REQUEST FOR ADMISSION NO. 10:
17           Admit that YOU have never consented to use of any of YOUR ASSERTED WORKS as

18   training data for artificial intelligence.

19   AMENDED RESPONSE TO REQUEST NO. 10:
20           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

21   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

22   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

23   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

24   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

25   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

26
27



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     PLAINTIFF JUNOT DIAZ’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S SECOND SET
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 1   duplicative in whole or in part of RFAs 8-9, 11, and 13-14. Subject to and without waiving the

 2   foregoing objections, Plaintiff responds as follows: admit.

 3   REQUEST FOR ADMISSION NO. 11:
 4           Admit that YOU are unaware of consent ever having been given (either by YOU or somebody

 5   so authorized on YOUR behalf) to use of any of YOUR ASSERTED WORKS as training data for

 6   artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 11:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8-10 and 13-14. Subject to and without waiving the foregoing

15   objections, Plaintiff responds as follows: admit.

16   REQUEST FOR ADMISSION NO. 12:
17           Admit that, other than YOUR contention that LLM developers such as Meta should have

18   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models (see,

19   e.g., [March 7, 2024 denial of RFA No. 1), YOU are unaware of any lost sales due to the infringement
20   alleged in the COMPLAINT.

21   AMENDED RESPONSE TO REQUEST NO. 12:
22           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

23   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

24   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

25   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

26   objects to the term “lost sales” as vague and ambiguous. Plaintiff further objects to this Request
27   because it is hypothetical and not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth.,

     2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected to the

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     PLAINTIFF JUNOT DIAZ’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S SECOND SET
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 1   facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

 2   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

 3   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

 4   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as

 5   duplicative in whole or in part of RFA 15. Further, this Request seeks premature expert opinion.

 6   Plaintiffs are still investigating their damages theory. Subject to and without waiving the foregoing

 7   objections, Plaintiff responds as follows: admit.

 8   REQUEST FOR ADMISSION NO. 13:
 9          Admit that YOU have no documentary evidence that any PERSON has offered any

10   consideration to YOU for the use of YOUR ASSERTED WORKS to train large language models.

11   AMENDED RESPONSE TO REQUEST NO. 13:
12          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

13   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

14   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

15   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

16   objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

17   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

18   duplicative in whole or in part of RFAs 8-11, and 14. Subject to and without waiving the foregoing

19   objections, Plaintiff responds as follows: admit.
20   REQUEST FOR ADMISSION NO. 14:
21          Admit that YOU have no documentary evidence that any PERSON has actually compensated

22   YOU any consideration for use of YOUR ASSERTED WORKS to train large language models.

23   AMENDED RESPONSE TO REQUEST NO. 14:
24          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

     objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

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     PLAINTIFF JUNOT DIAZ’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S SECOND SET
32                                   OF REQUESTS FOR ADMISSION
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 1   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 8-11, and 13. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 15:
 5          Admit that, other than YOUR contention that LLM developers such as Meta should have

 6   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

 7   are unaware of any documentary evidence that YOU have lost sales of any ASSERTED WORKS due

 8   to the infringement alleged in the COMPLAINT.

 9   AMENDED RESPONSE TO REQUEST NO. 15:
10          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

11   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

12   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

13   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

14   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

15   the specific claims and defenses raised in this case. Plaintiff further objects to the term “lost sales” as

16   vague and ambiguous. Plaintiff also objects to this Request because it is hypothetical and not tied to the

17   facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7,

18   2016) (“Since requests to admit ‘must be connected to the facts of the case, courts do not permit

19   “hypothetical” questions within requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL
20   873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiff to admit to infringement in the

21   context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946

22   amendment. Plaintiff further objects to this Request as duplicative in whole or in part of RFA 12.

23   Subject to and without waiving the foregoing objections, Plaintiff responds as follows: admit.

24   REQUEST FOR ADMISSION NO. 16:
25          Admit that book sales for YOUR ASSERTED WORKS (including through any physical

26   bookstore, on-line bookseller, or any other type of book wholesaler or retailer) have not decreased due
27   to the alleged use of YOUR ASSERTED WORKS to train large language models.



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     PLAINTIFF JUNOT DIAZ’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S SECOND SET
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 2   AMENDED RESPONSE TO REQUEST NO. 16:
 3          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 4   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 5   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 6   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

 7   further objects to the term “book sales” as vague and ambiguous. Plaintiff also objects to this Request

 8   because it is hypothetical and is not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit

 9   Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected

10   to the facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

11   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

12   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

13   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as it

14   prematurely seeks expert testimony. Subject to and without waiving the foregoing objections, Plaintiff

15   responds that after a reasonable inquiry, the information known or that can be readily obtained by him

16   is insufficient to enable him to admit or deny.

17   REQUEST FOR ADMISSION NO. 31:
18          Admit that YOU have never offered to license or sell any of YOUR ASSERTED WORKS for

19   use in the training of an artificial intelligence large language model.
20   AMENDED RESPONSE TO REQUEST NO. 31:
21          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   further objects to this Request as duplicative in whole or in part of RFAs 8-11. Subject to and without

26   waiving the foregoing objections, Plaintiff responds as follows: admit.
27



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 1   REQUEST FOR ADMISSION NO. 33:
 2          Admit that for a fee, YOU are willing to allow a THIRD PARTY to use YOUR ASSERTED

 3   works for the purpose of training an artificial intelligence large language model.

 4   AMENDED RESPONSE TO REQUEST NO. 33:
 5          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 6   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it
 7
     includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
 8
     Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff
 9
     further objects that this Request poses an incomplete hypothetical, preventing Plaintiff from providing a
10
     single definitive answer. Subject to and without waiving the foregoing objections, Plaintiff admits only
11

12   that he may be willing to consider permitting a third party to use his asserted works for the purpose of

13   training an artificial intelligence large language model, under certain circumstances not present in this
14   case. Plaintiff otherwise denies Request No. 33.
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     PLAINTIFF JUNOT DIAZ’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S SECOND SET
32                                   OF REQUESTS FOR ADMISSION
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 1   Dated: September 6, 2024                By:         /s/ Bryan L. Clobes
                                                           Bryan L. Clobes
 2
                                             Joseph R. Saveri (State Bar No. 130064)
 3                                           Cadio Zirpoli (State Bar No. 179108)
                                             Christopher K.L. Young (State Bar No. 318371)
 4                                           Holden Benon (State Bar No. 325847)
                                             Aaron Cera (State Bar No. 351163)
 5                                           Margaux Poueymirou (State Bar No. 356000)
 6                                           JOSEPH SAVERI LAW FIRM, LLP
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                                             San Francisco, California 94108
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                                             Matthew Butterick (State Bar No. 250953)
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                                             Facsimile: (415) 395-9940
14                                           Email:       mb@buttericklaw.com
15
                                             Bryan L. Clobes (pro hac vice)
16                                           Alexander J. Sweatman (pro hac vice)
                                             Mohammed A. Rathur (pro hac vice anticipated)
17                                           CAFFERTY CLOBES MERIWETHER
                                             & SPRENGEL LLP
18                                           135 South LaSalle Street, Suite 3210
                                             Chicago, IL 60603
19                                           Telephone:    (312) 782-4880
                                             Email:        bclobes@caffertyclobes.com
20                                                         asweatman@caffertyclobes.com
                                                           mrathur@caffertyclobes.com
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22                                           Daniel J. Muller (State Bar No. 193396)
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25                                           Email:      dmuller@venturahersey.com

26                                           Counsel for Individual and Representative Plaintiffs
                                             and the Proposed Class
27



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     PLAINTIFF JUNOT DIAZ’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S SECOND SET
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 1                                      CERTIFICATE OF SERVICE
 2          I, the undersigned, am employed by Cafferty Clobes Meriwether & Sprengel, LLP. My business

 3   address is 135 South LaSalle Street, Suite 3210, Chicago, Illinois 60603. I am over the age of eighteen

 4   and not a party to this action.

 5          On September 6, 2024, I caused the following documents to be served by email upon the parties

 6   listed on the attached Service List:

 7         PLAINTIFF JUNOT DIAZ’S AMENDED RESPONSES TO DEFENDANT META
            PLATFORMS, INC.’S SECOND SET OF REQUESTS FOR ADMISSION
 8

 9      I declare under penalty of perjury that the foregoing is true and correct. Executed September 6,

10   2024, at Chicago, Illinois.

11
                                                            /s/ Bryan L. Clobes
12                                                    By:
                                                                   Bryan L. Clobes
13

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     PLAINTIFF JUNOT DIAZ’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S SECOND SET
32                                   OF REQUESTS FOR ADMISSION
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     Colette Ani Ghazarian                      James A. Ulwick
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21   Counsel for Defendant
     Meta Platforms, Inc.
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      PLAINTIFF JUNOT DIAZ’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S SECOND SET
32                                    OF REQUESTS FOR ADMISSION
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           EXHIBIT 6
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 62 of 132



 1    Joseph R. Saveri (State Bar No. 130064)                Matthew Butterick (State Bar No. 250953)
      Cadio Zirpoli (State Bar No. 179108)                   1920 Hillhurst Avenue, 406
 2    Christopher K.L. Young (State Bar No. 318371)          Los Angeles, CA 90027
      Holden Benon (State Bar No. 325847)                    Telephone: (323) 968-2632
 3    Aaron Cera (State Bar No. 351163)                      Facsimile: (415) 395-9940
      Margaux Poueymirou (State Bar No. 356000)              Email:     mb@buttericklaw.com
 4    JOSEPH SAVERI LAW FIRM, LLP
      601 California Street, Suite 1505                      Bryan L. Clobes (pro hac vice)
 5    San Francisco, California 94108                        Alexander J. Sweatman (pro hac vice)
      Telephone: (415) 500-6800                              Mohammed A. Rathur (pro hac vice anticipated)
 6    Facsimile: (415) 395-9940                              CAFFERTY CLOBES MERIWETHER
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                 cyoung@saverilawfirm.com                    Chicago, IL 60603
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10    Counsel for Individual and Representative
      Plaintiffs and the Proposed Class
11
      [Additional counsel on signature page]
12

13
                                 UNITED STATES DISTRI CT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15                                  SAN FRANCISCO DIVISI ON

16
     Richard Kadrey, et al.,                                  Lead Case No. 3:23-cv-03417-VC
17                                                            Case No. 4:23-cv-06663
                 Individual and Representative Plaintiffs,
18                                                            PLAINTIFF ANDREW SEAN GREER’S
     v.                                                       AMENDED RESPONSES TO DEFENDANT
19                                                            META PLATFORMS, INC.’S SECOND SET
     Meta Platforms, Inc.,                                    OF REQUESTS FOR ADMISSION
20

21                                             Defendant.

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      PLAINTIFF ANDREW SEAN GREER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1    PROPOUNDING PARTIES:                              Defendant Meta Platforms, Inc.
 2    RESPONDING PARTIES:                               Plaintiff Andrew Sean Greer
 3    SET NUMBER:                                       Two (2)
 4

 5            Plaintiff Andrew Sean Greer (“Plaintiff”) hereby amends his responses to Defendant Meta

 6   Platforms, Inc.’s (“Defendant” or “Meta”) Second Set of Requests for Admissions (the “Requests” or

 7   “RFAs”).

 8                                         GENERAL OBJECTIONS
 9            1.      Plaintiff generally objects to Defendant’s definitions and instructions to the extent they

10   purport to require Plaintiff to respond in any way beyond what is required by the Federal and local

11   rules.

12            2.      Plaintiff objects to the Requests to the extent they seek information or materials that are

13   protected from disclosure by attorney-client privilege, the work product doctrine, expert disclosure

14   rules, or other applicable privileges and protections, including communications with Plaintiff’s

15   attorneys regarding the Action.

16            3.      Discovery in this matter is ongoing and Plaintiff reserves the right to amend, modify, or

17   supplement these responses with subsequently discovered responsive information and to introduce and

18   rely upon any such subsequently discovered information in this litigation.

19                 AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS
20   REQUEST FOR ADMISSION NO. 8:
21            Admit that YOU have never licensed any of YOUR ASSERTED WORKS for use as training

22   data for artificial intelligence.

23   AMENDED RESPONSE TO REQUEST NO. 8:
24            Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

     objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

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 1   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 9-11 and 13-14. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 9:
 5           Admit that YOU are unaware of any of YOUR ASSERTED WORKS ever having been

 6   licensed for use as training data for artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 9:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8, 10-11 and 13-14. Plaintiff further objects to this Request as

15   irrelevant to any disputed issue in the case. Subject to and without waiving the foregoing objections,

16   see response to RFA 8. Plaintiff responds as follows: admit.

17   REQUEST FOR ADMISSION NO. 10:
18           Admit that YOU have never consented to use of any of YOUR ASSERTED WORKS as

19   training data for artificial intelligence.
20   AMENDED RESPONSE TO REQUEST NO. 10:
21           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

26   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as
27



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      PLAINTIFF ANDREW SEAN GREER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   duplicative in whole or in part of RFAs 8-9, 11, and 13-14. Subject to and without waiving the

 2   foregoing objections, Plaintiff responds as follows: admit.

 3   REQUEST FOR ADMISSION NO. 11:
 4           Admit that YOU are unaware of consent ever having been given (either by YOU or somebody

 5   so authorized on YOUR behalf) to use of any of YOUR ASSERTED WORKS as training data for

 6   artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 11:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8-10 and 13-14. Subject to and without waiving the foregoing

15   objections, Plaintiff responds as follows: admit.

16   REQUEST FOR ADMISSION NO. 12:
17           Admit that, other than YOUR contention that LLM developers such as Meta should have

18   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models (see,

19   e.g., [March 7, 2024 denial of RFA No. 1), YOU are unaware of any lost sales due to the infringement
20   alleged in the COMPLAINT.

21   AMENDED RESPONSE TO REQUEST NO. 12:
22           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

23   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

24   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

25   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

26   objects to the term “lost sales” as vague and ambiguous. Plaintiff further objects to this Request
27   because it is hypothetical and not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth.,

     2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected to the

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 1   facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

 2   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

 3   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

 4   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as

 5   duplicative in whole or in part of RFA 15. Further, this Request seeks premature expert opinion.

 6   Plaintiffs are still investigating their damages theory. Subject to and without waiving the foregoing

 7   objections, Plaintiff responds as follows: admit.

 8   REQUEST FOR ADMISSION NO. 13:
 9          Admit that YOU have no documentary evidence that any PERSON has offered any

10   consideration to YOU for the use of YOUR ASSERTED WORKS to train large language models.

11   AMENDED RESPONSE TO REQUEST NO. 13:
12          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

13   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

14   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

15   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

16   objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

17   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

18   duplicative in whole or in part of RFAs 8-11, and 14. Subject to and without waiving the foregoing

19   objections, Plaintiff responds as follows: admit.
20   REQUEST FOR ADMISSION NO. 14:
21          Admit that YOU have no documentary evidence that any PERSON has actually compensated

22   YOU any consideration for use of YOUR ASSERTED WORKS to train large language models.

23   AMENDED RESPONSE TO REQUEST NO. 14:
24          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

     objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

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      PLAINTIFF ANDREW SEAN GREER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 8-11, and 13. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 15:
 5          Admit that, other than YOUR contention that LLM developers such as Meta should have

 6   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

 7   are unaware of any documentary evidence that YOU have lost sales of any ASSERTED WORKS due

 8   to the infringement alleged in the COMPLAINT.

 9   AMENDED RESPONSE TO REQUEST NO. 15:
10          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

11   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

12   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

13   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

14   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

15   the specific claims and defenses raised in this case. Plaintiff further objects to the term “lost sales” as

16   vague and ambiguous. Plaintiff also objects to this Request because it is hypothetical and not tied to the

17   facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7,

18   2016) (“Since requests to admit ‘must be connected to the facts of the case, courts do not permit

19   “hypothetical” questions within requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL
20   873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiff to admit to infringement in the

21   context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946

22   amendment. Plaintiff further objects to this Request as duplicative in whole or in part of RFA 12.

23   Subject to and without waiving the foregoing objections, Plaintiff responds as follows: admit.

24   REQUEST FOR ADMISSION NO. 16:
25          Admit that book sales for YOUR ASSERTED WORKS (including through any physical

26   bookstore, on-line bookseller, or any other type of book wholesaler or retailer) have not decreased due
27   to the alleged use of YOUR ASSERTED WORKS to train large language models.



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      PLAINTIFF ANDREW SEAN GREER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 2   AMENDED RESPONSE TO REQUEST NO. 16:
 3          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 4   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 5   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 6   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

 7   further objects to the term “book sales” as vague and ambiguous. Plaintiff also objects to this Request

 8   because it is hypothetical and is not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit

 9   Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected

10   to the facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

11   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

12   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

13   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as it

14   prematurely seeks expert testimony. Subject to and without waiving the foregoing objections, Plaintiff

15   responds that after a reasonable inquiry, the information known or that can be readily obtained by him

16   is insufficient to enable him to admit or deny.

17   REQUEST FOR ADMISSION NO. 31:
18          Admit that YOU have never offered to license or sell any of YOUR ASSERTED WORKS for

19   use in the training of an artificial intelligence large language model.
20   AMENDED RESPONSE TO REQUEST NO. 31:
21          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   further objects to this Request as duplicative in whole or in part of RFAs 8-11. Subject to and without

26   waiving the foregoing objections, Plaintiff responds as follows: admit.
27



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      PLAINTIFF ANDREW SEAN GREER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 69 of 132



 1   REQUEST FOR ADMISSION NO. 33:
 2          Admit that for a fee, YOU are willing to allow a THIRD PARTY to use YOUR ASSERTED

 3   works for the purpose of training an artificial intelligence large language model.

 4   AMENDED RESPONSE TO REQUEST NO. 33:
 5          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 6   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it
 7
     includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
 8
     Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff
 9
     further objects that this Request poses an incomplete hypothetical, preventing Plaintiff from providing a
10
     single definitive answer. Subject to and without waiving the foregoing objections, Plaintiff admits only
11

12   that he may be willing to consider permitting a third party to use his asserted works for the purpose of

13   training an artificial intelligence large language model, under certain circumstances not present in this
14   case. Plaintiff otherwise denies Request No. 33.
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31    Lead Case No. 3:23-cv-03417-VC                  7
      PLAINTIFF ANDREW SEAN GREER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
         Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 70 of 132



 1   Dated: September 6, 2024               By:         /s/ Bryan L. Clobes
                                                          Bryan L. Clobes
 2
                                            Joseph R. Saveri (State Bar No. 130064)
 3                                          Cadio Zirpoli (State Bar No. 179108)
                                            Christopher K.L. Young (State Bar No. 318371)
 4                                          Holden Benon (State Bar No. 325847)
                                            Aaron Cera (State Bar No. 351163)
 5                                          Margaux Poueymirou (State Bar No. 356000)
 6                                          JOSEPH SAVERI LAW FIRM, LLP
                                            601 California Street, Suite 1505
                                            San Francisco, California 94108
 7                                          Telephone: (415) 500-6800
                                            Facsimile: (415) 395-9940
 8                                          Email:     jsaveri@saverilawfirm.com
                                                       czirpoli@saverilawfirm.com
 9                                                     cyoung@saverilawfirm.com
                                                       hbenon@saverilawfirm.com
10                                                     acera@saverilawfirm.com
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11
                                            Matthew Butterick (State Bar No. 250953)
12                                          1920 Hillhurst Avenue, 406
                                            Los Angeles, CA 90027
13                                          Telephone: (323)968-2632
                                            Facsimile: (415) 395-9940
14                                          Email:       mb@buttericklaw.com
15
                                            Bryan L. Clobes (pro hac vice)
16                                          Alexander J. Sweatman (pro hac vice)
                                            Mohammed A. Rathur (pro hac vice anticipated)
17                                          CAFFERTY CLOBES MERIWETHER
                                            & SPRENGEL LLP
18                                          135 South LaSalle Street, Suite 3210
                                            Chicago, IL 60603
19                                          Telephone:    (312) 782-4880
                                            Email:        bclobes@caffertyclobes.com
20                                                        asweatman@caffertyclobes.com
                                                          mrathur@caffertyclobes.com
21

22                                          Daniel J. Muller (State Bar No. 193396)
                                            VENTURA HERSEY & MULLER, LLP
23                                          1506 Hamilton Avenue
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25                                          Email:      dmuller@venturahersey.com

26                                          Counsel for Individual and Representative Plaintiffs
                                            and the Proposed Class
27



31    Lead Case No. 3:23-cv-03417-VC                  8
      PLAINTIFF ANDREW SEAN GREER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1                                      CERTIFICATE OF SERVICE
 2          I, the undersigned, am employed by Cafferty Clobes Meriwether & Sprengel, LLP. My business

 3   address is 135 South LaSalle Street, Suite 3210, Chicago, Illinois 60603. I am over the age of eighteen

 4   and not a party to this action.

 5          On September 6, 2024, I caused the following documents to be served by email upon the parties

 6   listed on the attached Service List:

 7         PLAINTIFF ANDREW SEAN GREER’S AMENDED RESPONSES TO DEFENDANT
            META PLATFORMS, INC.’S SECOND SET OF REQUESTS FOR ADMISSION
 8

 9      I declare under penalty of perjury that the foregoing is true and correct. Executed September 6,

10   2024, at Chicago, Illinois.

11
                                                            /s/ Bryan L. Clobes
12                                                    By:
                                                                   Bryan L. Clobes
13

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31    Lead Case No. 3:23-cv-03417-VC                  9
      PLAINTIFF ANDREW SEAN GREER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
           Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 72 of 132



 1                                      SERVICE LIST
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     Colette Ani Ghazarian                     James A. Ulwick
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21   Counsel for Defendant
     Meta Platforms, Inc.
22

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31     Lead Case No. 3:23-cv-03417-VC                  10
       PLAINTIFF ANDREW SEAN GREER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                    SECOND SET OF REQUESTS FOR ADMISSION
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           EXHIBIT 7
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 74 of 132



 1    Joseph R. Saveri (State Bar No. 130064)                Matthew Butterick (State Bar No. 250953)
      Cadio Zirpoli (State Bar No. 179108)                   1920 Hillhurst Avenue, 406
 2    Christopher K.L. Young (State Bar No. 318371)          Los Angeles, CA 90027
      Holden Benon (State Bar No. 325847)                    Telephone: (323) 968-2632
 3    Aaron Cera (State Bar No. 351163)                      Facsimile: (415) 395-9940
      Margaux Poueymirou (State Bar No. 356000)              Email:     mb@buttericklaw.com
 4    JOSEPH SAVERI LAW FIRM, LLP
      601 California Street, Suite 1505                      Bryan L. Clobes (pro hac vice)
 5    San Francisco, California 94108                        Alexander J. Sweatman (pro hac vice)
      Telephone: (415) 500-6800                              Mohammed A. Rathur (pro hac vice anticipated)
 6    Facsimile: (415) 395-9940                              CAFFERTY CLOBES MERIWETHER
      Email:     jsaveri@saverilawfirm.com                   & SPRENGEL LLP
 7               czirpoli@saverilawfirm.com                  135 South LaSalle Street, Suite 3210
                 cyoung@saverilawfirm.com                    Chicago, IL 60603
 8               hbenon@saverilawfirm.com                    Telephone:    (312) 782-4880
                 acera@saverilawfirm.com                     Email:        bclobes@caffertyclobes.com
 9                mpoueymirou@saverilawfirm.com                            asweatman@caffertyclobes.com
                                                                           mrathur@caffertyclobes.com
10    Counsel for Individual and Representative
      Plaintiffs and the Proposed Class
11
      [Additional counsel on signature page]
12

13
                                 UNITED STATES DISTRI CT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15                                  SAN FRANCISCO DIVISI ON

16
     Richard Kadrey, et al.,                                  Lead Case No. 3:23-cv-03417-VC
17                                                            Case No. 4:23-cv-06663
                 Individual and Representative Plaintiffs,
18                                                            PLAINTIFF DAVID HENRY HWANG’S
     v.                                                       AMENDED RESPONSES TO DEFENDANT
19                                                            META PLATFORMS, INC.’S SECOND SET
     Meta Platforms, Inc.,                                    OF REQUESTS FOR ADMISSION
20

21                                             Defendant.

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31    Lead Case No. 3:23-cv-03417-VC
      PLAINTIFF DAVID HENRY HWANG’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1    PROPOUNDING PARTIES:                              Defendant Meta Platforms, Inc.
 2    RESPONDING PARTIES:                               Plaintiff David Henry Hwang
 3    SET NUMBER:                                       Two (2)
 4

 5            Plaintiff David Henry Hwang (“Plaintiff”) hereby amends his responses to Defendant Meta

 6   Platforms, Inc.’s (“Defendant” or “Meta”) Second Set of Requests for Admissions (the “Requests” or

 7   “RFAs”).

 8                                         GENERAL OBJECTIONS
 9            1.      Plaintiff generally objects to Defendant’s definitions and instructions to the extent they

10   purport to require Plaintiff to respond in any way beyond what is required by the Federal and local

11   rules.

12            2.      Plaintiff objects to the Requests to the extent they seek information or materials that are

13   protected from disclosure by attorney-client privilege, the work product doctrine, expert disclosure

14   rules, or other applicable privileges and protections, including communications with Plaintiff’s

15   attorneys regarding the Action.

16            3.      Discovery in this matter is ongoing and Plaintiff reserves the right to amend, modify, or

17   supplement these responses with subsequently discovered responsive information and to introduce and

18   rely upon any such subsequently discovered information in this litigation.

19                 AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS
20   REQUEST FOR ADMISSION NO. 8:
21            Admit that YOU have never licensed any of YOUR ASSERTED WORKS for use as training

22   data for artificial intelligence.

23   AMENDED RESPONSE TO REQUEST NO. 8:
24            Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

     objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

31    Lead Case No. 3:23-cv-03417-VC                  1
      PLAINTIFF DAVID HENRY HWANG’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 9-11 and 13-14. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 9:
 5           Admit that YOU are unaware of any of YOUR ASSERTED WORKS ever having been

 6   licensed for use as training data for artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 9:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8, 10-11 and 13-14. Plaintiff further objects to this Request as

15   irrelevant to any disputed issue in the case. Subject to and without waiving the foregoing objections,

16   see response to RFA 8. Plaintiff responds as follows: admit.

17   REQUEST FOR ADMISSION NO. 10:
18           Admit that YOU have never consented to use of any of YOUR ASSERTED WORKS as

19   training data for artificial intelligence.
20   AMENDED RESPONSE TO REQUEST NO. 10:
21           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

26   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as
27



31    Lead Case No. 3:23-cv-03417-VC                  2
      PLAINTIFF DAVID HENRY HWANG’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 77 of 132



 1   duplicative in whole or in part of RFAs 8-9, 11, and 13-14. Subject to and without waiving the

 2   foregoing objections, Plaintiff responds as follows: admit.

 3   REQUEST FOR ADMISSION NO. 11:
 4           Admit that YOU are unaware of consent ever having been given (either by YOU or somebody

 5   so authorized on YOUR behalf) to use of any of YOUR ASSERTED WORKS as training data for

 6   artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 11:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8-10 and 13-14. Subject to and without waiving the foregoing

15   objections, Plaintiff responds as follows: admit.

16   REQUEST FOR ADMISSION NO. 12:
17           Admit that, other than YOUR contention that LLM developers such as Meta should have

18   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models (see,

19   e.g., [March 7, 2024 denial of RFA No. 1), YOU are unaware of any lost sales due to the infringement
20   alleged in the COMPLAINT.

21   AMENDED RESPONSE TO REQUEST NO. 12:
22           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

23   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

24   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

25   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

26   objects to the term “lost sales” as vague and ambiguous. Plaintiff further objects to this Request
27   because it is hypothetical and not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth.,

     2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected to the

31    Lead Case No. 3:23-cv-03417-VC                  3
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32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

 2   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

 3   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

 4   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as

 5   duplicative in whole or in part of RFA 15. Further, this Request seeks premature expert opinion.

 6   Plaintiffs are still investigating their damages theory. Subject to and without waiving the foregoing

 7   objections, Plaintiff responds as follows: admit.

 8   REQUEST FOR ADMISSION NO. 13:
 9          Admit that YOU have no documentary evidence that any PERSON has offered any

10   consideration to YOU for the use of YOUR ASSERTED WORKS to train large language models.

11   AMENDED RESPONSE TO REQUEST NO. 13:
12          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

13   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

14   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

15   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

16   objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

17   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

18   duplicative in whole or in part of RFAs 8-11, and 14. Subject to and without waiving the foregoing

19   objections, Plaintiff responds as follows: admit.
20   REQUEST FOR ADMISSION NO. 14:
21          Admit that YOU have no documentary evidence that any PERSON has actually compensated

22   YOU any consideration for use of YOUR ASSERTED WORKS to train large language models.

23   AMENDED RESPONSE TO REQUEST NO. 14:
24          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

     objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

31    Lead Case No. 3:23-cv-03417-VC                  4
      PLAINTIFF DAVID HENRY HWANG’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 79 of 132



 1   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 8-11, and 13. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 15:
 5          Admit that, other than YOUR contention that LLM developers such as Meta should have

 6   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

 7   are unaware of any documentary evidence that YOU have lost sales of any ASSERTED WORKS due

 8   to the infringement alleged in the COMPLAINT.

 9   AMENDED RESPONSE TO REQUEST NO. 15:
10          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

11   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

12   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

13   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

14   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

15   the specific claims and defenses raised in this case. Plaintiff further objects to the term “lost sales” as

16   vague and ambiguous. Plaintiff also objects to this Request because it is hypothetical and not tied to the

17   facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7,

18   2016) (“Since requests to admit ‘must be connected to the facts of the case, courts do not permit

19   “hypothetical” questions within requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL
20   873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiff to admit to infringement in the

21   context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946

22   amendment. Plaintiff further objects to this Request as duplicative in whole or in part of RFA 12.

23   Subject to and without waiving the foregoing objections, Plaintiff responds as follows: admit.

24   REQUEST FOR ADMISSION NO. 16:
25          Admit that book sales for YOUR ASSERTED WORKS (including through any physical

26   bookstore, on-line bookseller, or any other type of book wholesaler or retailer) have not decreased due
27   to the alleged use of YOUR ASSERTED WORKS to train large language models.



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      PLAINTIFF DAVID HENRY HWANG’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1

 2   AMENDED RESPONSE TO REQUEST NO. 16:
 3          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 4   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 5   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 6   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

 7   further objects to the term “book sales” as vague and ambiguous. Plaintiff also objects to this Request

 8   because it is hypothetical and is not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit

 9   Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected

10   to the facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

11   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

12   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

13   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as it

14   prematurely seeks expert testimony. Subject to and without waiving the foregoing objections, Plaintiff

15   responds that after a reasonable inquiry, the information known or that can be readily obtained by him

16   is insufficient to enable him to admit or deny.

17   REQUEST FOR ADMISSION NO. 31:
18          Admit that YOU have never offered to license or sell any of YOUR ASSERTED WORKS for

19   use in the training of an artificial intelligence large language model.
20   AMENDED RESPONSE TO REQUEST NO. 31:
21          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   further objects to this Request as duplicative in whole or in part of RFAs 8-11. Subject to and without

26   waiving the foregoing objections, Plaintiff responds as follows: admit.
27



31    Lead Case No. 3:23-cv-03417-VC                  6
      PLAINTIFF DAVID HENRY HWANG’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   REQUEST FOR ADMISSION NO. 33:
 2          Admit that for a fee, YOU are willing to allow a THIRD PARTY to use YOUR ASSERTED

 3   works for the purpose of training an artificial intelligence large language model.

 4   AMENDED RESPONSE TO REQUEST NO. 33:
 5          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 6   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it
 7
     includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
 8
     Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff
 9
     further objects that this Request poses an incomplete hypothetical, preventing Plaintiff from providing a
10
     single definitive answer. Subject to and without waiving the foregoing objections, Plaintiff admits only
11

12   that he may be willing to consider permitting a third party to use his asserted works for the purpose of

13   training an artificial intelligence large language model, under certain circumstances not present in this
14   case. Plaintiff otherwise denies Request No. 33.
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31    Lead Case No. 3:23-cv-03417-VC                  7
      PLAINTIFF DAVID HENRY HWANG’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
         Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 82 of 132



 1   Dated: September 6, 2024               By:         /s/ Bryan L. Clobes
                                                          Bryan L. Clobes
 2
                                            Joseph R. Saveri (State Bar No. 130064)
 3                                          Cadio Zirpoli (State Bar No. 179108)
                                            Christopher K.L. Young (State Bar No. 318371)
 4                                          Holden Benon (State Bar No. 325847)
                                            Aaron Cera (State Bar No. 351163)
 5                                          Margaux Poueymirou (State Bar No. 356000)
 6                                          JOSEPH SAVERI LAW FIRM, LLP
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                                            Matthew Butterick (State Bar No. 250953)
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                                            Bryan L. Clobes (pro hac vice)
16                                          Alexander J. Sweatman (pro hac vice)
                                            Mohammed A. Rathur (pro hac vice anticipated)
17                                          CAFFERTY CLOBES MERIWETHER
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20                                                        asweatman@caffertyclobes.com
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22                                          Daniel J. Muller (State Bar No. 193396)
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25                                          Email:      dmuller@venturahersey.com

26                                          Counsel for Individual and Representative Plaintiffs
                                            and the Proposed Class
27



31    Lead Case No. 3:23-cv-03417-VC                  8
      PLAINTIFF DAVID HENRY HWANG’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1                                      CERTIFICATE OF SERVICE
 2          I, the undersigned, am employed by Cafferty Clobes Meriwether & Sprengel, LLP. My business

 3   address is 135 South LaSalle Street, Suite 3210, Chicago, Illinois 60603. I am over the age of eighteen

 4   and not a party to this action.

 5          On September 6, 2024, I caused the following documents to be served by email upon the parties

 6   listed on the attached Service List:

 7         PLAINTIFF DAVID HENRY HWANG’S AMENDED RESPONSES TO DEFENDANT
            META PLATFORMS, INC.’S SECOND SET OF REQUESTS FOR ADMISSION
 8

 9      I declare under penalty of perjury that the foregoing is true and correct. Executed September 6,

10   2024, at Chicago, Illinois.

11
                                                            /s/ Bryan L. Clobes
12                                                    By:
                                                                   Bryan L. Clobes
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31    Lead Case No. 3:23-cv-03417-VC                  9
      PLAINTIFF DAVID HENRY HWANG’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
           Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 84 of 132



 1                                      SERVICE LIST
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21   Counsel for Defendant
     Meta Platforms, Inc.
22

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31     Lead Case No. 3:23-cv-03417-VC                  10
       PLAINTIFF DAVID HENRY HWANG’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                    SECOND SET OF REQUESTS FOR ADMISSION
Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 85 of 132




           EXHIBIT 8
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 86 of 132



 1    Joseph R. Saveri (State Bar No. 130064)                Matthew Butterick (State Bar No. 250953)
      Cadio Zirpoli (State Bar No. 179108)                   1920 Hillhurst Avenue, 406
 2    Christopher K.L. Young (State Bar No. 318371)          Los Angeles, CA 90027
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 4    JOSEPH SAVERI LAW FIRM, LLP
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 5    San Francisco, California 94108                        Alexander J. Sweatman (pro hac vice)
      Telephone: (415) 500-6800                              Mohammed A. Rathur (pro hac vice anticipated)
 6    Facsimile: (415) 395-9940                              CAFFERTY CLOBES MERIWETHER
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10    Counsel for Individual and Representative
      Plaintiffs and the Proposed Class
11
      [Additional counsel on signature page]
12

13
                                 UNITED STATES DISTRI CT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15                                  SAN FRANCISCO DIVISI ON

16
     Richard Kadrey, et al.,                                  Lead Case No. 3:23-cv-03417-VC
17                                                            Case No. 4:23-cv-06663
                 Individual and Representative Plaintiffs,
18                                                            PLAINTIFF MATTHEW KLAM’S
     v.                                                       AMENDED RESPONSES TO DEFENDANT
19                                                            META PLATFORMS, INC.’S SECOND SET
     Meta Platforms, Inc.,                                    OF REQUESTS FOR ADMISSION
20

21                                             Defendant.

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31    Lead Case No. 3:23-cv-03417-VC
         PLAINTIFF MATTHEW KLAM’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1    PROPOUNDING PARTIES:                              Defendant Meta Platforms, Inc.
 2    RESPONDING PARTIES:                               Plaintiff Matthew Klam
 3    SET NUMBER:                                       Two (2)
 4

 5            Plaintiff Matthew Klam (“Plaintiff”) hereby amends his responses to Defendant Meta Platforms,

 6   Inc.’s (“Defendant” or “Meta”) Second Set of Requests for Admissions (the “Requests” or “RFAs”).

 7                                         GENERAL OBJECTIONS
 8            1.      Plaintiff generally objects to Defendant’s definitions and instructions to the extent they

 9   purport to require Plaintiff to respond in any way beyond what is required by the Federal and local

10   rules.

11            2.      Plaintiff objects to the Requests to the extent they seek information or materials that are

12   protected from disclosure by attorney-client privilege, the work product doctrine, expert disclosure

13   rules, or other applicable privileges and protections, including communications with Plaintiff’s

14   attorneys regarding the Action.

15            3.      Discovery in this matter is ongoing and Plaintiff reserves the right to amend, modify, or

16   supplement these responses with subsequently discovered responsive information and to introduce and

17   rely upon any such subsequently discovered information in this litigation.

18                 AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS
19   REQUEST FOR ADMISSION NO. 8:
20            Admit that YOU have never licensed any of YOUR ASSERTED WORKS for use as training

21   data for artificial intelligence.

22   AMENDED RESPONSE TO REQUEST NO. 8:
23            Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

24   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

25   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

26   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff
27   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

     construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

31    Lead Case No. 3:23-cv-03417-VC                  1
         PLAINTIFF MATTHEW KLAM’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   duplicative in whole or in part of RFAs 9-11 and 13-14. Subject to and without waiving the foregoing

 2   objections, Plaintiff responds as follows: admit.

 3   REQUEST FOR ADMISSION NO. 9:
 4           Admit that YOU are unaware of any of YOUR ASSERTED WORKS ever having been

 5   licensed for use as training data for artificial intelligence.

 6   AMENDED RESPONSE TO REQUEST NO. 9:
 7           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 8   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

 9   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

10   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

11   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

12   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

13   duplicative in whole or in part of RFAs 8, 10-11 and 13-14. Plaintiff further objects to this Request as

14   irrelevant to any disputed issue in the case. Subject to and without waiving the foregoing objections,

15   see response to RFA 8. Plaintiff responds as follows: admit.

16   REQUEST FOR ADMISSION NO. 10:
17           Admit that YOU have never consented to use of any of YOUR ASSERTED WORKS as

18   training data for artificial intelligence.

19   AMENDED RESPONSE TO REQUEST NO. 10:
20           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

21   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

22   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

23   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

24   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

25   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

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31    Lead Case No. 3:23-cv-03417-VC                  2
         PLAINTIFF MATTHEW KLAM’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 89 of 132



 1   duplicative in whole or in part of RFAs 8-9, 11, and 13-14. Subject to and without waiving the

 2   foregoing objections, Plaintiff responds as follows: admit.

 3   REQUEST FOR ADMISSION NO. 11:
 4           Admit that YOU are unaware of consent ever having been given (either by YOU or somebody

 5   so authorized on YOUR behalf) to use of any of YOUR ASSERTED WORKS as training data for

 6   artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 11:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8-10 and 13-14. Subject to and without waiving the foregoing

15   objections, Plaintiff responds as follows: admit.

16   REQUEST FOR ADMISSION NO. 12:
17           Admit that, other than YOUR contention that LLM developers such as Meta should have

18   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models (see,

19   e.g., [March 7, 2024 denial of RFA No. 1), YOU are unaware of any lost sales due to the infringement
20   alleged in the COMPLAINT.

21   AMENDED RESPONSE TO REQUEST NO. 12:
22           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

23   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

24   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

25   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

26   objects to the term “lost sales” as vague and ambiguous. Plaintiff further objects to this Request
27   because it is hypothetical and not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth.,

     2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected to the

31    Lead Case No. 3:23-cv-03417-VC                  3
         PLAINTIFF MATTHEW KLAM’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 90 of 132



 1   facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

 2   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

 3   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

 4   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as

 5   duplicative in whole or in part of RFA 15. Further, this Request seeks premature expert opinion.

 6   Plaintiffs are still investigating their damages theory. Subject to and without waiving the foregoing

 7   objections, Plaintiff responds as follows: admit.

 8   REQUEST FOR ADMISSION NO. 13:
 9          Admit that YOU have no documentary evidence that any PERSON has offered any

10   consideration to YOU for the use of YOUR ASSERTED WORKS to train large language models.

11   AMENDED RESPONSE TO REQUEST NO. 13:
12          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

13   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

14   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

15   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

16   objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

17   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

18   duplicative in whole or in part of RFAs 8-11, and 14. Subject to and without waiving the foregoing

19   objections, Plaintiff responds as follows: admit.
20   REQUEST FOR ADMISSION NO. 14:
21          Admit that YOU have no documentary evidence that any PERSON has actually compensated

22   YOU any consideration for use of YOUR ASSERTED WORKS to train large language models.

23   AMENDED RESPONSE TO REQUEST NO. 14:
24          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

     objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

31    Lead Case No. 3:23-cv-03417-VC                  4
         PLAINTIFF MATTHEW KLAM’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 91 of 132



 1   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 8-11, and 13. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 15:
 5          Admit that, other than YOUR contention that LLM developers such as Meta should have

 6   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

 7   are unaware of any documentary evidence that YOU have lost sales of any ASSERTED WORKS due

 8   to the infringement alleged in the COMPLAINT.

 9   AMENDED RESPONSE TO REQUEST NO. 15:
10          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

11   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

12   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

13   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff also

14   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

15   the specific claims and defenses raised in this case. Plaintiff further objects to the term “lost sales” as

16   vague and ambiguous. Plaintiff also objects to this Request because it is hypothetical and not tied to the

17   facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7,

18   2016) (“Since requests to admit ‘must be connected to the facts of the case, courts do not permit

19   “hypothetical” questions within requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL
20   873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiff to admit to infringement in the

21   context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946

22   amendment. Plaintiff further objects to this Request as duplicative in whole or in part of RFA 12.

23   Subject to and without waiving the foregoing objections, Plaintiff responds as follows: admit.

24   REQUEST FOR ADMISSION NO. 16:
25          Admit that book sales for YOUR ASSERTED WORKS (including through any physical

26   bookstore, on-line bookseller, or any other type of book wholesaler or retailer) have not decreased due
27   to the alleged use of YOUR ASSERTED WORKS to train large language models.



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         PLAINTIFF MATTHEW KLAM’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1

 2   AMENDED RESPONSE TO REQUEST NO. 16:
 3   Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 4   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 5   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 6   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

 7   further objects to the term “book sales” as vague and ambiguous. Plaintiff also objects to this Request

 8   because it is hypothetical and is not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit

 9   Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected

10   to the facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

11   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

12   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

13   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as it

14   prematurely seeks expert testimony. Subject to and without waiving the foregoing objections, Plaintiff

15   responds that after a reasonable inquiry, the information known or that can be readily obtained by him

16   is insufficient to enable him to admit or deny.

17   REQUEST FOR ADMISSION NO. 31:
18          Admit that YOU have never offered to license or sell any of YOUR ASSERTED WORKS for

19   use in the training of an artificial intelligence large language model.
20   AMENDED RESPONSE TO REQUEST NO. 31:
21          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff

25   further objects to this Request as duplicative in whole or in part of RFAs 8-11. Subject to and without

26   waiving the foregoing objections, Plaintiff responds as follows: admit.
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31    Lead Case No. 3:23-cv-03417-VC                  6
         PLAINTIFF MATTHEW KLAM’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   REQUEST FOR ADMISSION NO. 33:
 2          Admit that for a fee, YOU are willing to allow a THIRD PARTY to use YOUR ASSERTED

 3   works for the purpose of training an artificial intelligence large language model.

 4   AMENDED RESPONSE TO REQUEST NO. 33:
 5          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 6   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it
 7
     includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
 8
     Plaintiff will construe “You” and “Your” to include Plaintiff individually, and his agents. Plaintiff
 9
     further objects that this Request poses an incomplete hypothetical, preventing Plaintiff from providing a
10
     single definitive answer. Subject to and without waiving the foregoing objections, Plaintiff admits only
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12   that he may be willing to consider permitting a third party to use his asserted works for the purpose of

13   training an artificial intelligence large language model, under certain circumstances not present in this
14   case. Plaintiff otherwise denies Request No. 33.
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31    Lead Case No. 3:23-cv-03417-VC                  7
         PLAINTIFF MATTHEW KLAM’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
         Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 94 of 132



 1   Dated: September 6, 2024               By:         /s/ Bryan L. Clobes
                                                          Bryan L. Clobes
 2
                                            Joseph R. Saveri (State Bar No. 130064)
 3                                          Cadio Zirpoli (State Bar No. 179108)
                                            Christopher K.L. Young (State Bar No. 318371)
 4                                          Holden Benon (State Bar No. 325847)
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16                                          Alexander J. Sweatman (pro hac vice)
                                            Mohammed A. Rathur (pro hac vice anticipated)
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22                                          Daniel J. Muller (State Bar No. 193396)
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26                                          Counsel for Individual and Representative Plaintiffs
                                            and the Proposed Class
27



31    Lead Case No. 3:23-cv-03417-VC                  8
         PLAINTIFF MATTHEW KLAM’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 95 of 132



 1                                      CERTIFICATE OF SERVICE
 2          I, the undersigned, am employed by Cafferty Clobes Meriwether & Sprengel, LLP. My business

 3   address is 135 South LaSalle Street, Suite 3210, Chicago, Illinois 60603. I am over the age of eighteen

 4   and not a party to this action.

 5          On September 6, 2024, I caused the following documents to be served by email upon the parties

 6   listed on the attached Service List:

 7         PLAINTIFF MATTHEW KLAM’S AMENDED RESPONSES TO DEFENDANT META
            PLATFORMS, INC.’S SECOND SET OF REQUESTS FOR ADMISSION
 8

 9      I declare under penalty of perjury that the foregoing is true and correct. Executed September 6,

10   2024, at Chicago, Illinois.

11
                                                            /s/ Bryan L. Clobes
12                                                    By:
                                                                   Bryan L. Clobes
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31    Lead Case No. 3:23-cv-03417-VC                  9
         PLAINTIFF MATTHEW KLAM’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
           Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 96 of 132



 1                                      SERVICE LIST
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     Colette Ani Ghazarian                     James A. Ulwick
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21   Counsel for Defendant
     Meta Platforms, Inc.
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31     Lead Case No. 3:23-cv-03417-VC                  10
          PLAINTIFF MATTHEW KLAM’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                    SECOND SET OF REQUESTS FOR ADMISSION
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           EXHIBIT 9
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 98 of 132



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 2    Christopher K.L. Young (State Bar No. 318371)          Los Angeles, CA 90027
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 3    Aaron Cera (State Bar No. 351163)                      Facsimile: (415) 395-9940
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 5    San Francisco, California 94108                        Alexander J. Sweatman (pro hac vice)
      Telephone: (415) 500-6800                              Mohammed A. Rathur (pro hac vice anticipated)
 6    Facsimile: (415) 395-9940                              CAFFERTY CLOBES MERIWETHER
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 8               hbenon@saverilawfirm.com                    Telephone:    (312) 782-4880
                 acera@saverilawfirm.com                     Email:        bclobes@caffertyclobes.com
 9                mpoueymirou@saverilawfirm.com                            asweatman@caffertyclobes.com
                                                                           mrathur@caffertyclobes.com
10    Counsel for Individual and Representative
      Plaintiffs and the Proposed Class
11
      [Additional counsel on signature page]
12

13
                                 UNITED STATES DISTRI CT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15                                  SAN FRANCISCO DIVISI ON

16
     Richard Kadrey, et al.,                                  Lead Case No. 3:23-cv-03417-VC
17                                                            Case No. 4:23-cv-06663
                 Individual and Representative Plaintiffs,
18                                                            PLAINTIFF LAURA LIPPMAN’S
     v.                                                       AMENDED RESPONSES TO DEFENDANT
19                                                            META PLATFORMS, INC.’S SECOND SET
     Meta Platforms, Inc.,                                    OF REQUESTS FOR ADMISSION
20

21                                             Defendant.

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31    Lead Case No. 3:23-cv-03417-VC
         PLAINTIFF LAURA LIPPMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1    PROPOUNDING PARTIES:                              Defendant Meta Platforms, Inc.
 2    RESPONDING PARTIES:                               Plaintiff Laura Lippman
 3    SET NUMBER:                                       Two (2)
 4

 5            Plaintiff Laura Lippman (“Plaintiff”) hereby amends her responses to Defendant Meta

 6   Platforms, Inc.’s (“Defendant” or “Meta”) Second Set of Requests for Admissions (the “Requests” or

 7   “RFAs”).

 8                                         GENERAL OBJECTIONS
 9            1.      Plaintiff generally objects to Defendant’s definitions and instructions to the extent they

10   purport to require Plaintiff to respond in any way beyond what is required by the Federal and local

11   rules.

12            2.      Plaintiff objects to the Requests to the extent they seek information or materials that are

13   protected from disclosure by attorney-client privilege, the work product doctrine, expert disclosure

14   rules, or other applicable privileges and protections, including communications with Plaintiff’s

15   attorneys regarding the Action.

16            3.      Discovery in this matter is ongoing and Plaintiff reserves the right to amend, modify, or

17   supplement these responses with subsequently discovered responsive information and to introduce and

18   rely upon any such subsequently discovered information in this litigation.

19                 AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS
20   REQUEST FOR ADMISSION NO. 8:
21            Admit that YOU have never licensed any of YOUR ASSERTED WORKS for use as training

22   data for artificial intelligence.

23   AMENDED RESPONSE TO REQUEST NO. 8:
24            Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

     objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

31    Lead Case No. 3:23-cv-03417-VC                  1
         PLAINTIFF LAURA LIPPMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 9-11 and 13-14. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 9:
 5           Admit that YOU are unaware of any of YOUR ASSERTED WORKS ever having been

 6   licensed for use as training data for artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 9:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8, 10-11 and 13-14. Plaintiff further objects to this Request as

15   irrelevant to any disputed issue in the case. Subject to and without waiving the foregoing objections,

16   see response to RFA 8. Plaintiff responds as follows: admit.

17   REQUEST FOR ADMISSION NO. 10:
18           Admit that YOU have never consented to use of any of YOUR ASSERTED WORKS as

19   training data for artificial intelligence.
20   AMENDED RESPONSE TO REQUEST NO. 10:
21           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

25   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

26   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as
27



31    Lead Case No. 3:23-cv-03417-VC                  2
         PLAINTIFF LAURA LIPPMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   duplicative in whole or in part of RFAs 8-9, 11, and 13-14. Subject to and without waiving the

 2   foregoing objections, Plaintiff responds as follows: admit.

 3   REQUEST FOR ADMISSION NO. 11:
 4           Admit that YOU are unaware of consent ever having been given (either by YOU or somebody

 5   so authorized on YOUR behalf) to use of any of YOUR ASSERTED WORKS as training data for

 6   artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 11:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8-10 and 13-14. Subject to and without waiving the foregoing

15   objections, Plaintiff responds as follows: admit.

16   REQUEST FOR ADMISSION NO. 12:
17           Admit that, other than YOUR contention that LLM developers such as Meta should have

18   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models (see,

19   e.g., [March 7, 2024 denial of RFA No. 1), YOU are unaware of any lost sales due to the infringement
20   alleged in the COMPLAINT.

21   AMENDED RESPONSE TO REQUEST NO. 12:
22           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

23   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

24   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

25   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

26   objects to the term “lost sales” as vague and ambiguous. Plaintiff further objects to this Request
27   because it is hypothetical and not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth.,

     2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected to the

31    Lead Case No. 3:23-cv-03417-VC                  3
         PLAINTIFF LAURA LIPPMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

 2   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

 3   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

 4   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as

 5   duplicative in whole or in part of RFA 15. Further, this Request seeks premature expert opinion.

 6   Plaintiffs are still investigating their damages theory. Subject to and without waiving the foregoing

 7   objections, Plaintiff responds as follows: admit.

 8   REQUEST FOR ADMISSION NO. 13:
 9          Admit that YOU have no documentary evidence that any PERSON has offered any

10   consideration to YOU for the use of YOUR ASSERTED WORKS to train large language models.

11   AMENDED RESPONSE TO REQUEST NO. 13:
12          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

13   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

14   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

15   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff also

16   objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

17   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

18   duplicative in whole or in part of RFAs 8-11, and 14. Subject to and without waiving the foregoing

19   objections, Plaintiff responds as follows: admit.
20   REQUEST FOR ADMISSION NO. 14:
21          Admit that YOU have no documentary evidence that any PERSON has actually compensated

22   YOU any consideration for use of YOUR ASSERTED WORKS to train large language models.

23   AMENDED RESPONSE TO REQUEST NO. 14:
24          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff also

     objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

31    Lead Case No. 3:23-cv-03417-VC                  4
         PLAINTIFF LAURA LIPPMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
         Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 103 of 132



 1   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 8-11, and 13. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 15:
 5          Admit that, other than YOUR contention that LLM developers such as Meta should have

 6   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

 7   are unaware of any documentary evidence that YOU have lost sales of any ASSERTED WORKS due

 8   to the infringement alleged in the COMPLAINT.

 9   AMENDED RESPONSE TO REQUEST NO. 15:
10          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

11   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

12   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

13   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff also

14   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

15   the specific claims and defenses raised in this case. Plaintiff further objects to the term “lost sales” as

16   vague and ambiguous. Plaintiff also objects to this Request because it is hypothetical and not tied to the

17   facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7,

18   2016) (“Since requests to admit ‘must be connected to the facts of the case, courts do not permit

19   “hypothetical” questions within requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL
20   873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiff to admit to infringement in the

21   context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946

22   amendment. Plaintiff further objects to this Request as duplicative in whole or in part of RFA 12.

23   Subject to and without waiving the foregoing objections, Plaintiff responds as follows: admit.

24   REQUEST FOR ADMISSION NO. 16:
25          Admit that book sales for YOUR ASSERTED WORKS (including through any physical

26   bookstore, on-line bookseller, or any other type of book wholesaler or retailer) have not decreased due
27   to the alleged use of YOUR ASSERTED WORKS to train large language models.



31    Lead Case No. 3:23-cv-03417-VC                  5
         PLAINTIFF LAURA LIPPMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 2   AMENDED RESPONSE TO REQUEST NO. 16:
 3          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 4   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 5   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 6   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

 7   further objects to the term “book sales” as vague and ambiguous. Plaintiff also objects to this Request

 8   because it is hypothetical and is not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit

 9   Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected

10   to the facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

11   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

12   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

13   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as it

14   prematurely seeks expert testimony. Subject to and without waiving the foregoing objections, Plaintiff

15   responds that after a reasonable inquiry, the information known or that can be readily obtained by her is

16   insufficient to enable her to admit or deny.

17   REQUEST FOR ADMISSION NO. 31:
18          Admit that YOU have never offered to license or sell any of YOUR ASSERTED WORKS for

19   use in the training of an artificial intelligence large language model.
20   AMENDED RESPONSE TO REQUEST NO. 31:
21          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

25   further objects to this Request as duplicative in whole or in part of RFAs 8-11. Subject to and without

26   waiving the foregoing objections, Plaintiff responds as follows: admit.
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         PLAINTIFF LAURA LIPPMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   REQUEST FOR ADMISSION NO. 33:
 2          Admit that for a fee, YOU are willing to allow a THIRD PARTY to use YOUR ASSERTED

 3   works for the purpose of training an artificial intelligence large language model.

 4   AMENDED RESPONSE TO REQUEST NO. 33:
 5          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 6   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it
 7
     includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
 8
     Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff
 9
     further objects that this Request poses an incomplete hypothetical, preventing Plaintiff from providing a
10
     single definitive answer. Subject to and without waiving the foregoing objections, Plaintiff admits only
11

12   that she may be willing to consider permitting a third party to use her asserted works for the purpose of

13   training an artificial intelligence large language model, under certain circumstances not present in this
14   case. Plaintiff otherwise denies Request No. 33.
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31    Lead Case No. 3:23-cv-03417-VC                  7
         PLAINTIFF LAURA LIPPMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
        Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 106 of 132



 1   Dated: September 6, 2024               By:         /s/ Bryan L. Clobes
                                                          Bryan L. Clobes
 2
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 3                                          Cadio Zirpoli (State Bar No. 179108)
                                            Christopher K.L. Young (State Bar No. 318371)
 4                                          Holden Benon (State Bar No. 325847)
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26                                          Counsel for Individual and Representative Plaintiffs
                                            and the Proposed Class
27



31    Lead Case No. 3:23-cv-03417-VC                  8
         PLAINTIFF LAURA LIPPMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1                                      CERTIFICATE OF SERVICE
 2          I, the undersigned, am employed by Cafferty Clobes Meriwether & Sprengel, LLP. My business

 3   address is 135 South LaSalle Street, Suite 3210, Chicago, Illinois 60603. I am over the age of eighteen

 4   and not a party to this action.

 5          On September 6, 2024, I caused the following documents to be served by email upon the parties

 6   listed on the attached Service List:

 7         PLAINTIFF LAURA LIPPMAN’S AMENDED RESPONSES TO DEFENDANT META
            PLATFORMS, INC.’S SECOND SET OF REQUESTS FOR ADMISSION
 8

 9      I declare under penalty of perjury that the foregoing is true and correct. Executed September 6,

10   2024, at Chicago, Illinois.

11
                                                            /s/ Bryan L. Clobes
12                                                    By:
                                                                   Bryan L. Clobes
13

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31    Lead Case No. 3:23-cv-03417-VC                  9
         PLAINTIFF LAURA LIPPMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 108 of 132



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     Meta Platforms, Inc.
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31     Lead Case No. 3:23-cv-03417-VC                  10
          PLAINTIFF LAURA LIPPMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                    SECOND SET OF REQUESTS FOR ADMISSION
Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 109 of 132




          EXHIBIT 10
          Case 3:23-cv-03417-VC Document 140-1 Filed 09/12/24 Page 110 of 132



 1    Joseph R. Saveri (State Bar No. 130064)                Matthew Butterick (State Bar No. 250953)
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10    Counsel for Individual and Representative
      Plaintiffs and the Proposed Class
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      [Additional counsel on signature page]
12

13
                                 UNITED STATES DISTRI CT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15                                  SAN FRANCISCO DIVISI ON

16
     Richard Kadrey, et al.,                                  Lead Case No. 3:23-cv-03417-VC
17                                                            Case No. 4:23-cv-06663
                 Individual and Representative Plaintiffs,
18                                                            PLAINTIFF RACHEL LOUISE SNYDER’S
     v.                                                       AMENDED RESPONSES TO DEFENDANT
19                                                            META PLATFORMS, INC.’S SECOND SET
     Meta Platforms, Inc.,                                    OF REQUESTS FOR ADMISSION
20

21                                             Defendant.

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31    Lead Case No. 3:23-cv-03417-VC
     PLAINTIFF RACHEL LOUISE SNYDER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1    PROPOUNDING PARTIES:                              Defendant Meta Platforms, Inc.
 2    RESPONDING PARTIES:                               Plaintiff Rachel Louise Snyder
 3    SET NUMBER:                                       Two (2)
 4

 5            Plaintiff Rachel Louise Snyder (“Plaintiff”) hereby amends her responses to Defendant Meta

 6   Platforms, Inc.’s (“Defendant” or “Meta”) Second Set of Requests for Admissions (the “Requests” or

 7   “RFAs”).

 8                                         GENERAL OBJECTIONS
 9            1.      Plaintiff generally objects to Defendant’s definitions and instructions to the extent they

10   purport to require Plaintiff to respond in any way beyond what is required by the Federal and local

11   rules.

12            2.      Plaintiff objects to the Requests to the extent they seek information or materials that are

13   protected from disclosure by attorney-client privilege, the work product doctrine, expert disclosure

14   rules, or other applicable privileges and protections, including communications with Plaintiff’s

15   attorneys regarding the Action.

16            3.      Discovery in this matter is ongoing and Plaintiff reserves the right to amend, modify, or

17   supplement these responses with subsequently discovered responsive information and to introduce and

18   rely upon any such subsequently discovered information in this litigation.

19                 AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS
20   REQUEST FOR ADMISSION NO. 8:
21            Admit that YOU have never licensed any of YOUR ASSERTED WORKS for use as training

22   data for artificial intelligence.

23   AMENDED RESPONSE TO REQUEST NO. 8:
24            Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

     objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

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 1   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 9-11 and 13-14. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 9:
 5           Admit that YOU are unaware of any of YOUR ASSERTED WORKS ever having been

 6   licensed for use as training data for artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 9:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8, 10-11 and 13-14. Plaintiff further objects to this Request as

15   irrelevant to any disputed issue in the case. Subject to and without waiving the foregoing objections,

16   see response to RFA 8. Plaintiff responds as follows: admit.

17   REQUEST FOR ADMISSION NO. 10:
18           Admit that YOU have never consented to use of any of YOUR ASSERTED WORKS as

19   training data for artificial intelligence.
20   AMENDED RESPONSE TO REQUEST NO. 10:
21           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

25   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

26   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as
27



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     PLAINTIFF RACHEL LOUISE SNYDER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1   duplicative in whole or in part of RFAs 8-9, 11, and 13-14. Subject to and without waiving the

 2   foregoing objections, Plaintiff responds as follows: admit.

 3   REQUEST FOR ADMISSION NO. 11:
 4           Admit that YOU are unaware of consent ever having been given (either by YOU or somebody

 5   so authorized on YOUR behalf) to use of any of YOUR ASSERTED WORKS as training data for

 6   artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 11:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8-10 and 13-14. Subject to and without waiving the foregoing

15   objections, Plaintiff responds as follows: admit.

16   REQUEST FOR ADMISSION NO. 12:
17           Admit that, other than YOUR contention that LLM developers such as Meta should have

18   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models (see,

19   e.g., [March 7, 2024 denial of RFA No. 1), YOU are unaware of any lost sales due to the infringement
20   alleged in the COMPLAINT.

21   AMENDED RESPONSE TO REQUEST NO. 12:
22           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

23   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

24   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

25   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

26   objects to the term “lost sales” as vague and ambiguous. Plaintiff further objects to this Request
27   because it is hypothetical and not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth.,

     2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected to the

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     PLAINTIFF RACHEL LOUISE SNYDER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1   facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

 2   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

 3   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

 4   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as

 5   duplicative in whole or in part of RFA 15. Further, this Request seeks premature expert opinion.

 6   Plaintiffs are still investigating their damages theory. Subject to and without waiving the foregoing

 7   objections, Plaintiff responds as follows: admit.

 8   REQUEST FOR ADMISSION NO. 13:
 9          Admit that YOU have no documentary evidence that any PERSON has offered any

10   consideration to YOU for the use of YOUR ASSERTED WORKS to train large language models.

11   AMENDED RESPONSE TO REQUEST NO. 13:
12          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

13   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

14   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

15   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff also

16   objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

17   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

18   duplicative in whole or in part of RFAs 8-11, and 14. Subject to and without waiving the foregoing

19   objections, Plaintiff responds as follows: admit.
20   REQUEST FOR ADMISSION NO. 14:
21          Admit that YOU have no documentary evidence that any PERSON has actually compensated

22   YOU any consideration for use of YOUR ASSERTED WORKS to train large language models.

23   AMENDED RESPONSE TO REQUEST NO. 14:
24          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff also

     objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

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     PLAINTIFF RACHEL LOUISE SNYDER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 8-11, and 13. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 15:
 5          Admit that, other than YOUR contention that LLM developers such as Meta should have

 6   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

 7   are unaware of any documentary evidence that YOU have lost sales of any ASSERTED WORKS due

 8   to the infringement alleged in the COMPLAINT.

 9   AMENDED RESPONSE TO REQUEST NO. 15:
10          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

11   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

12   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

13   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff also

14   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

15   the specific claims and defenses raised in this case. Plaintiff further objects to the term “lost sales” as

16   vague and ambiguous. Plaintiff also objects to this Request because it is hypothetical and not tied to the

17   facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7,

18   2016) (“Since requests to admit ‘must be connected to the facts of the case, courts do not permit

19   “hypothetical” questions within requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL
20   873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiff to admit to infringement in the

21   context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946

22   amendment. Plaintiff further objects to this Request as duplicative in whole or in part of RFA 12.

23   Subject to and without waiving the foregoing objections, Plaintiff responds as follows: admit.

24   REQUEST FOR ADMISSION NO. 16:
25          Admit that book sales for YOUR ASSERTED WORKS (including through any physical

26   bookstore, on-line bookseller, or any other type of book wholesaler or retailer) have not decreased due
27   to the alleged use of YOUR ASSERTED WORKS to train large language models.



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     PLAINTIFF RACHEL LOUISE SNYDER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 2   AMENDED RESPONSE TO REQUEST NO. 16:
 3          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 4   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 5   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 6   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

 7   further objects to the term “book sales” as vague and ambiguous. Plaintiff also objects to this Request

 8   because it is hypothetical and is not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit

 9   Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected

10   to the facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

11   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

12   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

13   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as it

14   prematurely seeks expert testimony. Subject to and without waiving the foregoing objections, Plaintiff

15   responds that after a reasonable inquiry, the information known or that can be readily obtained by her is

16   insufficient to enable her to admit or deny.

17   REQUEST FOR ADMISSION NO. 31:
18          Admit that YOU have never offered to license or sell any of YOUR ASSERTED WORKS for

19   use in the training of an artificial intelligence large language model.
20   AMENDED RESPONSE TO REQUEST NO. 31:
21          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

25   further objects to this Request as duplicative in whole or in part of RFAs 8-11. Subject to and without

26   waiving the foregoing objections, Plaintiff responds as follows: admit.
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     PLAINTIFF RACHEL LOUISE SNYDER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   REQUEST FOR ADMISSION NO. 33:
 2          Admit that for a fee, YOU are willing to allow a THIRD PARTY to use YOUR ASSERTED

 3   works for the purpose of training an artificial intelligence large language model.

 4   AMENDED RESPONSE TO REQUEST NO. 33:
 5          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 6   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it
 7
     includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
 8
     Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff
 9
     further objects that this Request poses an incomplete hypothetical, preventing Plaintiff from providing a
10
     single definitive answer. Subject to and without waiving the foregoing objections, Plaintiff admits only
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12   that she may be willing to consider permitting a third party to use her asserted works for the purpose of

13   training an artificial intelligence large language model, under certain circumstances not present in this
14   case. Plaintiff otherwise denies Request No. 33.
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31    Lead Case No. 3:23-cv-03417-VC                  7
     PLAINTIFF RACHEL LOUISE SNYDER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1   Dated: September 6, 2024               By:         /s/ Bryan L. Clobes
                                                          Bryan L. Clobes
 2
                                            Joseph R. Saveri (State Bar No. 130064)
 3                                          Cadio Zirpoli (State Bar No. 179108)
                                            Christopher K.L. Young (State Bar No. 318371)
 4                                          Holden Benon (State Bar No. 325847)
                                            Aaron Cera (State Bar No. 351163)
 5                                          Margaux Poueymirou (State Bar No. 356000)
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26                                          Counsel for Individual and Representative Plaintiffs
                                            and the Proposed Class
27



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     PLAINTIFF RACHEL LOUISE SNYDER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1                                      CERTIFICATE OF SERVICE
 2          I, the undersigned, am employed by Cafferty Clobes Meriwether & Sprengel, LLP. My business

 3   address is 135 South LaSalle Street, Suite 3210, Chicago, Illinois 60603. I am over the age of eighteen

 4   and not a party to this action.

 5          On September 6, 2024, I caused the following documents to be served by email upon the parties

 6   listed on the attached Service List:

 7         PLAINTIFF RACHEL LOUISE SNYDER’S AMENDED RESPONSES TO
            DEFENDANT META PLATFORMS, INC.’S SECOND SET OF REQUESTS FOR
 8          ADMISSION
 9
        I declare under penalty of perjury that the foregoing is true and correct. Executed September 6,
10
     2024, at Chicago, Illinois.
11

12
                                                            /s/ Bryan L. Clobes
                                                      By:
13                                                                 Bryan L. Clobes
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     PLAINTIFF RACHEL LOUISE SNYDER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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      PLAINTIFF RACHEL LOUISE SNYDER’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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          EXHIBIT 11
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      Plaintiffs and the Proposed Class
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13
                                 UNITED STATES DISTRI CT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15                                  SAN FRANCISCO DIVISI ON

16
     Richard Kadrey, et al.,                                  Lead Case No. 3:23-cv-03417-VC
17                                                            Case No. 4:23-cv-06663
                 Individual and Representative Plaintiffs,
18                                                            PLAINTIFF JACQUELINE WOODSON’S
     v.                                                       AMENDED RESPONSES TO DEFENDANT
19                                                            META PLATFORMS, INC.’S SECOND SET
     Meta Platforms, Inc.,                                    OF REQUESTS FOR ADMISSION
20

21                                             Defendant.

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31    Lead Case No. 3:23-cv-03417-VC
      PLAINTIFF JACQUELINE WOODSON’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
32                                   SECOND SET OF REQUESTS FOR ADMISSION
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 1    PROPOUNDING PARTIES:                              Defendant Meta Platforms, Inc.
 2    RESPONDING PARTIES:                               Plaintiff Jacqueline Woodson
 3    SET NUMBER:                                       Two (2)
 4

 5            Plaintiff Jacqueline Woodson (“Plaintiff”) hereby amends her responses to Defendant Meta

 6   Platforms, Inc.’s (“Defendant” or “Meta”) Second Set of Requests for Admissions (the “Requests” or

 7   “RFAs”).

 8                                         GENERAL OBJECTIONS
 9            1.      Plaintiff generally objects to Defendant’s definitions and instructions to the extent they

10   purport to require Plaintiff to respond in any way beyond what is required by the Federal and local

11   rules.

12            2.      Plaintiff objects to the Requests to the extent they seek information or materials that are

13   protected from disclosure by attorney-client privilege, the work product doctrine, expert disclosure

14   rules, or other applicable privileges and protections, including communications with Plaintiff’s

15   attorneys regarding the Action.

16            3.      Discovery in this matter is ongoing and Plaintiff reserves the right to amend, modify, or

17   supplement these responses with subsequently discovered responsive information and to introduce and

18   rely upon any such subsequently discovered information in this litigation.

19                 AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS
20   REQUEST FOR ADMISSION NO. 8:
21            Admit that YOU have never licensed any of YOUR ASSERTED WORKS for use as training

22   data for artificial intelligence.

23   AMENDED RESPONSE TO REQUEST NO. 8:
24            Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

     objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

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 1   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 9-11 and 13-14. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 9:
 5           Admit that YOU are unaware of any of YOUR ASSERTED WORKS ever having been

 6   licensed for use as training data for artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 9:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8, 10-11 and 13-14. Plaintiff further objects to this Request as

15   irrelevant to any disputed issue in the case. Subject to and without waiving the foregoing objections,

16   see response to RFA 8. Plaintiff responds as follows: admit.

17   REQUEST FOR ADMISSION NO. 10:
18           Admit that YOU have never consented to use of any of YOUR ASSERTED WORKS as

19   training data for artificial intelligence.
20   AMENDED RESPONSE TO REQUEST NO. 10:
21           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

25   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

26   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as
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 1   duplicative in whole or in part of RFAs 8-9, 11, and 13-14. Subject to and without waiving the

 2   foregoing objections, Plaintiff responds as follows: admit.

 3   REQUEST FOR ADMISSION NO. 11:
 4           Admit that YOU are unaware of consent ever having been given (either by YOU or somebody

 5   so authorized on YOUR behalf) to use of any of YOUR ASSERTED WORKS as training data for

 6   artificial intelligence.

 7   AMENDED RESPONSE TO REQUEST NO. 11:
 8           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 9   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

10   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

11   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

12   objects to this Request as unintelligible and vague as to the term “artificial intelligence” and will

13   construe that term to mean generative artificial intelligence. Plaintiff further objects to this Request as

14   duplicative in whole or in part of RFAs 8-10 and 13-14. Subject to and without waiving the foregoing

15   objections, Plaintiff responds as follows: admit.

16   REQUEST FOR ADMISSION NO. 12:
17           Admit that, other than YOUR contention that LLM developers such as Meta should have

18   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models (see,

19   e.g., [March 7, 2024 denial of RFA No. 1), YOU are unaware of any lost sales due to the infringement
20   alleged in the COMPLAINT.

21   AMENDED RESPONSE TO REQUEST NO. 12:
22           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

23   discovery that is irrelevant and /or disproportional to the needs of the case because, as defined, it

24   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

25   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

26   objects to the term “lost sales” as vague and ambiguous. Plaintiff further objects to this Request
27   because it is hypothetical and not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth.,

     2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected to the

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 1   facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

 2   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

 3   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

 4   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as

 5   duplicative in whole or in part of RFA 15. Further, this Request seeks premature expert opinion.

 6   Plaintiffs are still investigating their damages theory. Subject to and without waiving the foregoing

 7   objections, Plaintiff responds as follows: admit.

 8   REQUEST FOR ADMISSION NO. 13:
 9          Admit that YOU have no documentary evidence that any PERSON has offered any

10   consideration to YOU for the use of YOUR ASSERTED WORKS to train large language models.

11   AMENDED RESPONSE TO REQUEST NO. 13:
12          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

13   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

14   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

15   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff also

16   objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

17   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

18   duplicative in whole or in part of RFAs 8-11, and 14. Subject to and without waiving the foregoing

19   objections, Plaintiff responds as follows: admit.
20   REQUEST FOR ADMISSION NO. 14:
21          Admit that YOU have no documentary evidence that any PERSON has actually compensated

22   YOU any consideration for use of YOUR ASSERTED WORKS to train large language models.

23   AMENDED RESPONSE TO REQUEST NO. 14:
24          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

25   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

26   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
27   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff also

     objects to the term “documentary evidence” as vague and overbroad because it is not limited to the

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 1   specific claims and defenses raised in this dispute. Plaintiff further objects to this Request as

 2   duplicative in whole or in part of RFAs 8-11, and 13. Subject to and without waiving the foregoing

 3   objections, Plaintiff responds as follows: admit.

 4   REQUEST FOR ADMISSION NO. 15:
 5          Admit that, other than YOUR contention that LLM developers such as Meta should have

 6   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

 7   are unaware of any documentary evidence that YOU have lost sales of any ASSERTED WORKS due

 8   to the infringement alleged in the COMPLAINT.

 9   AMENDED RESPONSE TO REQUEST NO. 15:
10          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

11   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

12   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

13   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff also

14   objects to the term “documentary evidence” as being vague and overbroad because it is not limited to

15   the specific claims and defenses raised in this case. Plaintiff further objects to the term “lost sales” as

16   vague and ambiguous. Plaintiff also objects to this Request because it is hypothetical and not tied to the

17   facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7,

18   2016) (“Since requests to admit ‘must be connected to the facts of the case, courts do not permit

19   “hypothetical” questions within requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL
20   873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiff to admit to infringement in the

21   context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946

22   amendment. Plaintiff further objects to this Request as duplicative in whole or in part of RFA 12.

23   Subject to and without waiving the foregoing objections, Plaintiff responds as follows: admit.

24   REQUEST FOR ADMISSION NO. 16:
25          Admit that book sales for YOUR ASSERTED WORKS (including through any physical

26   bookstore, on-line bookseller, or any other type of book wholesaler or retailer) have not decreased due
27   to the alleged use of YOUR ASSERTED WORKS to train large language models.



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 2   AMENDED RESPONSE TO REQUEST NO. 16:
 3          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 4   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 5   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

 6   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

 7   further objects to the term “book sales” as vague and ambiguous. Plaintiff also objects to this Request

 8   because it is hypothetical and is not tied to the facts of the case. See, e.g., Buchanan v. Chi. Transit

 9   Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to admit ‘must be connected

10   to the facts of the case, courts do not permit “hypothetical” questions within requests for admission.’”);

11   Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17, 1997) (denying request

12   “asking Plaintiff to admit to infringement in the context of the hypothetical use of its device”); Fed. R.

13   Civ. P. 36 advisory committee’s note to 1946 amendment. Plaintiff further objects to this Request as it

14   prematurely seeks expert testimony. Subject to and without waiving the foregoing objections, Plaintiff

15   responds that after a reasonable inquiry, the information known or that can be readily obtained by her is

16   insufficient to enable her to admit or deny.

17   REQUEST FOR ADMISSION NO. 31:
18          Admit that YOU have never offered to license or sell any of YOUR ASSERTED WORKS for

19   use in the training of an artificial intelligence large language model.
20   AMENDED RESPONSE TO REQUEST NO. 31:
21          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

22   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

23   includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,

24   Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff

25   further objects to this Request as duplicative in whole or in part of RFAs 8-11. Subject to and without

26   waiving the foregoing objections, Plaintiff responds as follows: admit.
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 1   REQUEST FOR ADMISSION NO. 33:
 2          Admit that for a fee, YOU are willing to allow a THIRD PARTY to use YOUR ASSERTED

 3   works for the purpose of training an artificial intelligence large language model.

 4   AMENDED RESPONSE TO REQUEST NO. 33:
 5          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 6   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it
 7
     includes any person asked, hired, retained, or contracted to assist Plaintiff. As narrowed by the parties,
 8
     Plaintiff will construe “You” and “Your” to include Plaintiff individually, and her agents. Plaintiff
 9
     further objects that this Request poses an incomplete hypothetical, preventing Plaintiff from providing a
10
     single definitive answer. Subject to and without waiving the foregoing objections, Plaintiff admits only
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12   that she may be willing to consider permitting a third party to use her asserted works for the purpose of

13   training an artificial intelligence large language model, under certain circumstances not present in this
14   case. Plaintiff otherwise denies Request No. 33.
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 1   Dated: September 6, 2024              By:         /s/ Bryan L. Clobes
                                                         Bryan L. Clobes
 2
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 3                                         Cadio Zirpoli (State Bar No. 179108)
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26                                         Counsel for Individual and Representative Plaintiffs
                                           and the Proposed Class
27



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 1                                      CERTIFICATE OF SERVICE
 2          I, the undersigned, am employed by Cafferty Clobes Meriwether & Sprengel, LLP. My business

 3   address is 135 South LaSalle Street, Suite 3210, Chicago, Illinois 60603. I am over the age of eighteen

 4   and not a party to this action.

 5          On September 6, 2024, I caused the following documents to be served by email upon the parties

 6   listed on the attached Service List:

 7         PLAINTIFF JACQUELINE WOODSON’S AMENDED RESPONSES TO DEFENDANT
            META PLATFORMS, INC.’S SECOND SET OF REQUESTS FOR ADMISSION
 8

 9      I declare under penalty of perjury that the foregoing is true and correct. Executed September 6,

10   2024, at Chicago, Illinois.

11
                                                            /s/ Bryan L. Clobes
12                                                    By:
                                                                   Bryan L. Clobes
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